Case 23-12825-MBK       Doc 503     Filed 05/13/23 Entered 05/13/23 00:00:55      Desc Main
                                  Document      Page 1 of 80



   MAUNE RAICHLE HARTLEY FRENCH & MUDD, LLC
   Clayton L. Thompson, Esq.
   cthompson@mrhfmlaw.com
   Suzanne M. Ratcliffe, Esq.
   sratcliffe@mrhfmlaw.com
   150 West 30th Street, Suite 201
   New York, NY 10001
   Tel: (800) 358-5922

   Counsel for Mesothelioma Plaintiff Katherine Tollefson
   and Certain Mesothelioma Plaintiffs

                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEW JERSEY

  In re:                                        )
                                                )   Case No. 23-ap-1092-MBK
           LTL MANAGEMENT LLC,                  )
                                                )   Lead BK Case: 23-12825-MBK
           Debtor.                              )


     MRHFM’S JOINDER TO THE TCC’S CROSS-MOTION FOR SUSPENDING
      DEBTOR’S CHAPTER 11 CASE PURSUANT TO 11 U.S.C. §§ 105 AND 305

           MRHFM’s plaintiffs—all diagnosed with a cancer caused by asbestos and who

 have filed lawsuits in state courts across the country—join the TCC’s motion (Dkt. 414)

 and adopt all arguments and evidence referenced therein. The Ad Hoc Committee of

 Supporting Counsel (“AHCSC”) (Dkt. 497) and the Debtor (Dkt. 501) oppose the motion.

           The Third Circuit ruled this Court can only permit LTL Management to enter

 bankruptcy’s “safe harbor” and access Chapter 11’s tools if it files in good faith, and it

 did not. LTL Mgmt. LLC, 64 F.4th 84, 93 (3d Cir. 2023). Does a $30 billion fraud after that


                                               1
Case 23-12825-MBK       Doc 503     Filed 05/13/23 Entered 05/13/23 00:00:55       Desc Main
                                  Document      Page 2 of 80



 ruling really change things? Several parties have challenged the Court’s subject matter

 jurisdiction, and this must be addressed, including by the Third Circuit, if necessary,

 before anything else goes forward in this, the most egregious abuse of the bankruptcy

 system in American history.

        The AHCSC’s opposition means nothing; its members are required to support

 Johnson & Johnson’s ongoing assault on the Seventh Amendment and mockery of the

 people the Company poisoned to death. Even if the AHCSC represented a super-majority

 of claimants with cancers medically and scientifically connected to J&J’s talc—and it

 doesn’t—this Court lacks subject matter jurisdiction and votes don’t change that.

        Johnson & Johnson issues press releases on a regular basis, beating the drum that

 a “small number of law firms” are preventing all “claimants” from voting on a “plan” in

 its second bad faith bankruptcy. See Ex. 1, Appendix of Johnson & Johnson Statements

 (“J&J Statements”). J&J says that “when presented with a clear and complete explanation

 and the opportunity to make an informed choice, we firmly believe the claimants will

 approve the plan.” See J&J Statements, No. 6 (Apr. 24th). And yet Exhibit A to the Term

 Sheet, which contains a complete explanation of how terrible this “plan” is, remains

 “confidential” at J&J’s insistence.

        The Company’s metamorphosis from advocating for tort system access for all

 plaintiffs in May 2020 (Ex. 2, Appendix of Tort System Flip-Flops), to extolling the virtues

 of bankruptcy over the tort system in October 2021, to bashing the “plaintiff’s bar” in

                                              2
Case 23-12825-MBK           Doc 503     Filed 05/13/23 Entered 05/13/23 00:00:55                  Desc Main
                                      Document      Page 3 of 80



 February 2022, to requesting extensive discovery and estimation in July 2022 so only

 “valid” claims are filed in LTL1 (Ex. 3, Tr. 7/26/22, pgs. 101-02),12 to now, making a “deal”

 with the AHCSC, relying entirely on its members’ baseless representations about proper

 diagnosis and exposure is astounding, even for J&J.

         Mr. Birchfield explained to the Court on Tuesday the importance of how “talc

 claimants” are defined. Ex. 4, Tr. 5/9/23, pgs. 32-34, 41. The Court asked the right question:

 “So what do you, what role do you see for claimants who are victims of, alleged victims

 of other types of cancer that they ascribe to talc in this case? Are they claimants?” Id., pg.

 34 (emphasis). They are not. Mesothelioma is overwhelming linked to asbestos and

 asbestos was in Baby Powder. The MDL rulings were based on evidence linking talc to




 1 “And it’s always been beyond me why there’s so much opposition to discovery that’s intended just to

 seek the basic information that any court would want to assess the validity of these claims.”
 2 Debtor’s counsel advocating for estimation to permit the Court to “shed light on the proposals” (pg. 18);

 saying “either we need to negotiate an agreement” (with mesothelioma and OC claimants involved in LTL1,
 which failed) or “there needs to be a process by which the parties’ due process rights are respected and
 they have an opportunity to have their day in court…” (pg. 19-20); “I mean I can’t overemphasize from our
 perspective, the discovery [of claimants’ exposure] is very important” (pg. 23); estimation will enable the
 parties to gather information that they need to make their cases” and “it will require the parties, as I said
 before, to support their position” (pgs. 26-27); it “would also provide the claimants and the Court with
 information necessary to evaluate any plan” (pg. 27); “[w]e have not proposed that the estimation would
 set the amounts of the distribution. I think we’ve been very clear about that. We have not said that the
 estimation would be used to set a hard cap on the amount of trust funding. What we’re proposing doesn’t
 violate anyone’s constitutional rights” (pgs. 27-28); discussing the importance of discovery from claimants
 to show all their exposures (pgs. 31-32); in response to MRHFM’s objection to an aggregate resolution and
 demanding individual jury trials, “[MRHFM] doesn’t know what values might be offered…Well, of course,
 they don’t care about the aggregate value. They want to know what the claim values are” (pg. 100); and
 finally, “obviously, what’s being proposed by way of cram down is a plan that wouldn’t do that.” Pg. 101.
                                                      3
Case 23-12825-MBK          Doc 503      Filed 05/13/23 Entered 05/13/23 00:00:55                 Desc Main
                                      Document      Page 4 of 80



 very specific forms of cancer, much narrower than the types listed in Exhibit A to the

 Term Sheet.

         The AHCSC and the Debtor have the burden to establish a connection between the

 “gynecological” and other cancers listed in Exhibit A and J&J’s asbestos-contaminated

 talc. The TCC correctly identified one of the major flaws in the Debtor’s plan is it purports

 to generate votes for claims that lack a medical and scientific connection to talc. Id., pg.

 41.3

         To J&J and the AHCSC, a claimant is anyone with a name, a Social Security

 Number, a gynecological cancer (maybe), and some proximity to one of the most

 ubiquitous products in world history. In other words, anyone whose lawyers are willing

 to flush the civil justice system by voting for this plan. J&J doesn’t care one whit about

 the real talc victims, and it shows.

         For all these reasons, all activities in this case must be stayed until after this Court

 rules on the motions to dismiss. If the Court denies those motions this case should be

 stayed until after the Third Circuit rules.

 Respectfully submitted:

 MAUNE RAICHLE HARTLEY
 FRENCH & MUDD, LLC




 3 “One of the concerns we have is this conflation of all claims being put in one pot and potentially sharing

 a pot of money pro rata not depending on the legitimacy of the claims that are being reported.”
                                                      4
Case 23-12825-MBK    Doc 503     Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                               Document      Page 5 of 80




 __________________________
 Clayton L. Thompson, Esq.
 MAUNE RAICHLE HARTLEY
 FRENCH & MUDD, LLC
 150 W. 30th Street, Suite 201
 New York, NY 10001
 (800) 358-5922
 cthompson@mrhmflaw.com




                                          5
Case 23-12825-MBK   Doc 503     Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                              Document      Page 6 of 80




                    EXHIBIT 1
     Case 23-12825-MBK    Doc 503     Filed 05/13/23 Entered 05/13/23 00:00:55       Desc Main
                                    Document      Page 7 of 80
                      Appendix of Johnson & Johnson Statements
No.        Date                                      Statement
13     May 12, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                       Johnson & Johnson:

                       This motion is yet another desperate attempt by a small group of
                       plaintiff’s law firms—whose financial interests conflict with, diverge from
                       and contravene those of their clients—to deprive all claimants of the right
                       to vote and decide for themselves whether to accept the proposed plan,
                       which a growing and significant majority of claimants already support.
                       The court rulings this week cleared the way for the filing of the plan in the
                       near term, and we will vigorously oppose the effort to derail that filing
                       with this baseless and premature motion.i
12     May 9, 2023     Statement from Erik Haas, Worldwide Vice President of Litigation,
                       Johnson & Johnson:

                       The Third Circuit properly denied a request by a small number of law
                       firms, which represent the minority of claimants, attempting to prevent all
                       claimants from having the opportunity to vote on the proposed resolution
                       plan. As the Third Circuit stated, the Bankruptcy Court has established an
                       “expedited” process to resolve this matter. We look forward to filing our
                       plan shortly and to allowing claimants the opportunity to vote.ii
11     May 7, 2023     We empathize with anyone suffering from cancer and understand that
                       people are searching for answers. We believe science provides those
                       answers, with evidence from clinical research and over 40 years of studies
                       by independent medical experts around the world supporting our
                       position that our cosmetic talc is safe, does not contain asbestos and does
                       not cause cancer. Plaintiff lawyers are promulgating their unfounded
                       theories for their own financial interest and are doing a disservice to their
                       clients by leading them to believe that their cancer was caused by our
                       cosmetic talc.

                       While the talc-related claims against the Company have no merit, we
                       recognize that resolving these cases in the tort system would take
                       decades, with most claimants never receiving any compensation.
                       Resolving this matter through the proposed reorganization plan in
                       Bankruptcy Court is both more equitable and more efficient and allows
                       claimants to be compensated in a timely manner. It is also a legitimate
                       and appropriate use of the bankruptcy process. Our resolution proposal
                       has the support of the vast majority of claimants, and we look forward to
                       letting all the claimants vote on the proposed plan.iii



                                                1
    Case 23-12825-MBK   Doc 503     Filed 05/13/23 Entered 05/13/23 00:00:55       Desc Main
                                  Document      Page 8 of 80
                    Appendix of Johnson & Johnson Statements

No.       Date                                  Statement
10    May 3, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                     Johnson & Johnson:

                     The Company deeply sympathizes with anyone suffering from cancer and
                     understands that they are looking for answers, however, the science
                     doesn’t support that the exceedingly rare form of mesothelioma at issue in
                     Mr. Valadez’s case is connected to talc exposure. We stand ready to try this
                     matter, where we will present evidence that scientific research, clinical
                     evidence and over 40 years of studies by independent medical experts
                     around the world continue to support that our cosmetic talc is safe, does
                     not contain asbestos and does not cause cancer. The Company has won the
                     majority of talc cases brought against it since these lawsuits began despite
                     the misinformation campaigns driven by plaintiff lawyers.

                     The Bankruptcy Court correctly recognized that no other claimant has
                     moved to have the stay lifted to pursue claims in the tort system, but rather
                     have elected to avail themselves of the bankruptcy process. We look
                     forward to finalization and vote by all claimants on the reorganization
                     plan.iv
9     May 2, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                     Johnson & Johnson:

                     The Trustee’s motion repeats the positions of the small minority of law
                     firms that oppose the plan, whose counsel testified that they entered into a
                     common interest fee agreement with the agency. We consider more
                     compelling the views of the vast majority of the claimants’ law firms who
                     support the proposed reorganization plan.

                     We are engaging in a legitimate and appropriate use of the bankruptcy
                     process, and look forward to

                     letting all the claimants vote on the proposed plan, which presents an
                     equitable, efficient and complete resolution.v
8     May 2, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                     Johnson & Johnson:

                     The filing is a desperate and legally deficient attempt by a small number of
                     law firms to try to prevent claimants from voting on the resolution plan - a
                     plan the vast and growing majority of claimants support. The law firms


                                              2
    Case 23-12825-MBK      Doc 503     Filed 05/13/23 Entered 05/13/23 00:00:55        Desc Main
                                     Document      Page 9 of 80
                       Appendix of Johnson & Johnson Statements

No.        Date                                         Statement
                        behind this filing have financial interests that conflict with, diverge from
                        and contravene those of their clients. We will be submitting a response to
                        the appellate court.vi
7     April 27, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                        Johnson & Johnson:

                        As unequivocally and unambiguously stated, Johnson & Johnson has
                        agreed to retain all the talc-related liabilities—and indemnify Kenvue for
                        any and all costs—arising from litigation in the United States and Canada.
                        Any suggestion to the contrary is false and misleading.vii
6     April 24, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                        Johnson & Johnson:

                        The motion is nothing more than a desperate attempt to prevent the tens of
                        thousands of claimants from deciding for themselves and vote on a
                        resolution plan.

                        As demonstrated in the recent hearings, there is significant support for the
                        plan, including from major plaintiffs’ law firms representing the vast
                        majority of the claimants in this litigation, as well as lawyers who
                        previously led the opposition to the first bankruptcy.

                        Opposition to the plan is driven by firms who have a profit motive to
                        remain in the tort system that is at odds with the interests of their clients.
                        When presented with a clear and complete explanation and the
                        opportunity to make an informed choice, we firmly believe the claimants
                        will approve the plan.viii
5     April 20, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                        Johnson & Johnson:

                        The decision is a win for claimants, who are now one step closer to being
                        able to vote for themselves on whether to accept the proposed resolution.
                        We are confident the vote will overwhelmingly support the proposal, as it
                        presents the only equitable path forward. The proposal commits $8.9
                        billion to claimants, whose claims otherwise would languish in the tort
                        system for decades and, based upon the trial record to date, likely would
                        not receive a single dollar. Major plaintiffs’ law firms representing the vast




                                                 3
    Case 23-12825-MBK      Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55          Desc Main
                                  Document    Page 10 of 80
                       Appendix of Johnson & Johnson Statements

No.        Date                                        Statement
                        majority of the claimants in this litigation support the plan, including
                        lawyers who previously led the opposition to the first bankruptcy filing.

                        Despite this support, we expect a few plaintiffs’ law firms will continue to
                        oppose and seek to delay this plan. The evidence presented to the court this
                        week shows that these firms have a profit motive to remain in the tort
                        system that is at odds with the interests of their clients. When presented
                        with a clear and complete explanation and the opportunity to make an
                        informed choice, we firmly believe the claimants will approve the plan.ix
4     April 18, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                        Johnson & Johnson:

                        The evidence presented today re-confirmed that plaintiffs’ lawyers
                        representing over 60,000 claimants already support the $8.9 billion
                        resolution plan, including lawyers who had previously opposed the first
                        bankruptcy filing. We remain confident that thousands more will join once
                        this plan is allowed to be put out for a vote. Additionally, counsel in
                        support of the resolution plan representing over 15,000 of the claimants
                        echoed the desire to present the court with a resolution plan by May 15,
                        2023.

                        Opposition to our plan was presented today from a few plaintiffs’ lawyers
                        who have repeatedly stated they have no interest in a settlement under any
                        circumstance and whose business model would be threatened by a
                        complete resolution. That model is premised on large, aberrant verdicts
                        where most claimants get nothing.

                        The only equitable path forward is for claimants to be allowed to decide for
                        themselves and to let them vote yes or no on the reorganization plan.x
3     April 11, 2023    Statement from Erik Haas, Worldwide Vice President of Litigation,
                        Johnson & Johnson:

                        Progress toward our reorganization plan continues with Bankruptcy Court
                        Judge Michael Kaplan's denial today of plaintiff law firms' request to
                        dismiss the case. We look forward to proceeding with the bankruptcy and
                        moving toward a vote on a final reorganization plan.xi
2     April 4, 2023     Johnson & Johnson (NYSE:JNJ) (the Company) today announced that its
                        subsidiary LTL Management LLC (LTL) has re-filed for voluntary Chapter
                        11 bankruptcy protection to obtain approval of a reorganization plan that


                                                 4
    Case 23-12825-MBK         Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55                 Desc Main
                                     Document    Page 11 of 80
                         Appendix of Johnson & Johnson Statements

No.           Date                                          Statement
                           will equitably and efficiently resolve all claims arising from cosmetic talc
                           litigation against the Company and its affiliates in North America. To that
                           end, the Company has agreed to contribute up to a present value of $8.9
                           billion, payable over 25 years, to resolve all the current and future talc
                           claims, which is an increase of $6.9 billion over the $2 billion previously
                           committed in connection with LTL’s initial bankruptcy filing in October
                           2021. LTL also has secured commitments from over 60,000 current
                           claimants to support a global resolution on these terms.xii
1         March 22,        Our review petition raised significant concerns with the Third Circuit’s
          2023             decision, both in how it applied the law to the facts of Judge Kaplan’s
                           ruling, as well as the impracticality of the Third Circuit’s new legal
                           standard. We will immediately move for a stay of this opinion so we can
                           seek review directly from the U.S. Supreme Court.

                           Today’s ruling ignores the facts established during the Bankruptcy Court’s
                           trial regarding the appropriateness of LTL Management’s (LTL) formation
                           and filing, as well as the Company’s intention to efficiently resolve the
                           cosmetic talc litigation for the benefit of all parties, including current and
                           future claimants.

                           We continue to stand behind the safety of Johnson’s Baby Powder, which
                           is safe, does not contain asbestos and does not cause cancer. xiii


      i https://www.factsabouttalc.com/_document/statement-on-tcc-standing-motion-to-dismiss?id=00000188-
      1125-d1d3-adde-5925f0290000
      ii https://www.factsabouttalc.com/_document/statement-on-tcc-mandamus-denial?id=00000188-0209-

      d1d3-adde-4a0900490000
      iii https://www.factsabouttalc.com/_document/johnson-johnson-statement-on-cnn-segment?id=00000187-

      f925-d1d3-add7-f925a0b10000
      iv https://www.factsabouttalc.com/_document/statement-on-the-valadez-case-stay-lifted?id=00000187-

      e2f3-d2f1-adcf-e7f339780000
      v https://www.factsabouttalc.com/_document/statement-on-united-states-trustee-motion-to-

      dismiss?id=00000187-dd25-d1d3-add7-dd2596bf0000
      vi https://www.factsabouttalc.com/_document/statement-on-tcc-mandamus-petition?id=00000187-dc60-

      d1d3-add7-dc6058eb0000
      vii https://www.factsabouttalc.com/_document/statement-on-talc-related-liability-and-

      kenvue?id=00000187-c2d9-d2f1-adcf-e7f9c8170000
      viii https://www.factsabouttalc.com/_document/statement-on-tcc-motion-to-dismiss?id=00000187-b47f-

      d1d3-add7-fc7f65a00000
      ix https://www.factsabouttalc.com/_document/statement-on-bankruptcy-court-ruling?id=00000187-9f60-

      d1d3-add7-df602e5d0000



                                                       5
Case 23-12825-MBK         Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55                    Desc Main
                                 Document    Page 12 of 80
                     Appendix of Johnson & Johnson Statements


 x https://www.factsabouttalc.com/_document/april-18-statement-on-bankruptcy-court-hearing-on-
 ltl?id=00000187-96d0-d1d3-add7-ded0a8830000
 xi https://www.factsabouttalc.com/_document/statement-on-bankruptcy-court-ruling-allowing-ltls-

 voluntary-chapter-11-re-filing-to-proceed?id=00000187-71e0-d1d3-add7-79e0266c0000
 xii https://www.factsabouttalc.com/_document/johnson-johnson-subsidiary-ltl-management-llc-ltl-re-files-

 for-voluntary-chapter-11-to-equitably-resolve-all-current-and-future-talc-claims?id=00000187-4dec-d1d3-
 add7-4decec340000
 xiii https://www.factsabouttalc.com/_document/johnson-johnson-statement-on-third-circuit-review-

 petition?id=00000187-09c4-deef-a1df-adf4a9de0000




                                                    6
Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                           Document    Page 13 of 80




                    EXHIBIT 2
    Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55 Desc Main
                                Document      Page 14 of 80
       Appendix of Several But Not All of Johnson & Johnson’s Tort System Flip-Flops


No. Date          Statement                 Date        Statement

1     5/28/2020   “The holders [of J&J Talc 8/15/2022   “Worse, the mass-tort system was
                  Claims] will keep their day           failing claimants. At the rate cases
                  in court and be assured a full        were being tried, it would have
                  recovery of any judgment or           taken        hundreds—if          not
                  settlement, backed by the             thousands—of years to give all
                  credit of one of the world’s          plaintiffs their day in court, to say
                  largest companies, J&J.”              nothing of the new plaintiffs whose
                  Exhibit A1, Johnson &                 lawsuits were piling up at a
                  Johnson’s Omnibus Reply in            staggering rate. And the tort system
                  Support of J&J’s Motion for           was yielding results that were
                  Entry of Order Modifying              becoming increasingly difficult to
                  Automatic         Stay       to       rationalize. Most plaintiffs got
                  Implement Talc Litigation             nothing; a handful got tens of
                  Protocol, In re: Imerys Talc          millions     or    billions.   Future
                  America, Inc., Case 19-10289-         claimants could be shut out
                  LSS, Dkt. 1769, ¶ 4 (emphasis         entirely.” Exhibit A2, Debtor
                  original).                            Appellee Brief, pg. 2.
2     5/28/2020   The tort claimants filing 9/19/2022   “And so you are asked to compare
                  claims in Imerys, according           two different worlds. One is the
                  to J&J, were “seeking [ ]             baseline of the pre-restructuring,
                  higher and more certain               pre-bankruptcy world in which
                  payout[s]”     through      the       Johnson & Johnson owes nothing,
                  Imerys bankruptcy in a trust          in which some people slowly get
                  than the in the tort system; in       paid but that's subject of course to
                  the bankruptcy, groups                any other claims against Old JJCI,
                  representing claimants could          any recovery. And under the
                  “inflate values, settle claim         restructuring and the funding
                  amounts for numbers of                agreement, instead, you have a very
                  their own choosing without            different world, one with a $61-
                  proving     causation,     and        billion plus floor. That money is
                  establish their own eligibility       guaranteed free and clear. You have
                  criteria…” Id., ¶ 15.                 a faster process so current claimants
                                                        get paid and future claimants have
                                                        a voice at the table. They have a
                                                        representative because that is under
                                                        524(g).” Exhibit A3, Tr. 9/19/2022,
                                                        pg. 85.



                                              1
    Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55 Desc Main
                                Document      Page 15 of 80
       Appendix of Several But Not All of Johnson & Johnson’s Tort System Flip-Flops


No. Date          Statement                     Date        Statement

3     5/28/2020   “Even if estimation of mass 12/28/2022 The “estimation process will
                  tort     claims    may     be          facilitate mediation by [ ] requiring
                  appropriate in other chapter           the parties to provide support for
                  11 cases, they are not                 their respective positions, better
                  appropriate when a credit-             understand the positions of the
                  worthy party is standing               other parties, and focus on the
                  ready to take over the claims          central issue in this case—the extent
                  and pay proven claims in               of the Debtor’s liability for talc
                  full.” Id., ¶ 15.                      claims.” Debtor Motion to Disclose
                                                         Funding, Dkt. 3351-1, ¶ 10.
4     5/28/2020   “J&J as a source of recovery 9/19/2022 “Our argument is that each of their
                  for future claimants who can           tort lawsuits has tunnel vision. It
                  prove       their claims    is         examines only their individual case
                  undoubtedly a more certain             and delays future ones. It's a home
                  bet than the standard                  run or a strikeout and precious few
                  bankruptcy claims trust.” Id.,         get up to bat. The only way to get a
                  ¶ 17(2).                               system wide resolution that's
                                                         comprehensive, that protects future
                                                         claimants, is through bankruptcy.
                                                         Third, and finally, they ignore
                                                         several key limiting principles of
                                                         our argument, particularly Mr.
                                                         Frederick, and four things make
                                                         this case unique. First, a latency
                                                         period of nearly 50 years with
                                                         many, many future claimants who
                                                         can't get any relief now and who
                                                         risk not getting paid.” Tr. 9/19/2022,
                                                         pg. 61




                                                 2
    Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55 Desc Main
                                Document      Page 16 of 80
       Appendix of Several But Not All of Johnson & Johnson’s Tort System Flip-Flops


No. Date          Statement                    Date         Statement

5     5/28/2020   The individual tort claimants 9/19/2022   THE COURT: You contemplate
                  who hold J&J Talc Claims                  that this plan even though it's not
                  would particularly benefit                yet in place will allow for any type
                  by taking their claims out of             of opt-out?
                  the       bankruptcy     and              MR. KATYAL: I don't know that we
                  restoring to each full due                have gotten that far. I think that's a
                  process rights to ‘have h[er              pre -- to use a word from earlier, I
                  or his] own day in court.’”               think that's a premature question.
                  Id., ¶ 30                                 But I would say that, you know, 75
                                                            percent threshold is of course very
                                                            daunting.       We     are     highly
                                                            incentivized to put a good plan
                                                            together because otherwise we get
                                                            returned to the mass tort system
                                                            with all of the uncertainty and all of
                                                            the problems attendant to it. Tr.
                                                            9/19/2022, pgs. 83-84.




                                                 3
    Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55 Desc Main
                                Document      Page 17 of 80
       Appendix of Several But Not All of Johnson & Johnson’s Tort System Flip-Flops


No. Date          Statement                         Date        Statement

6     5/28/2020   “[T]he Debtors [Imerys}           8/15/2022   “Not even J&J could ‘sustain
                  contend, in four full                         operations and remain viable in the
                  paragraphs, that J&J may                      long term with juries poised to
                  lack       the       financial                render nine and ten figure
                  wherewithal to meet its                       judgments, and with such litigation
                  obligations. This is the most                 anticipated to last decades going
                  absurd      argument       the                forward.’     Although     claimants
                  Debtors make (and the one                     repeatedly cite J&J’s significant
                  that most demonstrates that                   market capitalization and strong
                  they are grasping at straws).                 credit rating, they cite no evidence
                  As of the date hereof, J&J                    suggesting that J&J had the capacity
                  has a market capitalization                   to pay tens of billions of dollars in
                  of over $385 billion and                      defense costs and verdicts for
                  extensive           insurance                 decades without falling into
                  coverage of its own. It is one                financial distress.” Debtor Appellee
                  of the top 10 companies in                    Brief, pg. 50 (internal citations
                  the United States by market                   omitted).
                  value. J&J can provide the
                  claimants      far     greater
                  protection than the Debtors
                  or the bankruptcy claims
                  trust    ever    could      (as
                  discussed above).” Id., ¶ 41.




                                                     4
    Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55 Desc Main
                                Document      Page 18 of 80
       Appendix of Several But Not All of Johnson & Johnson’s Tort System Flip-Flops


No. Date          Statement                         Date        Statement

7     5/28/2020   “More importantly, J&J is         8/15/2022   “Worse still, 38,000 claimants could
                  offering each of those                        not all get their day in court any
                  plaintiffs her or his own day                 time soon, if at all. In Missouri, one
                  in court to attempt to prove                  of plaintiffs’ favored jurisdictions,
                  her/his allegations—against                   only 297 civil jury verdicts of any
                  the Debtors and against                       kind were returned in 2019. At that
                  J&J… There will be no                         pace, it would have taken ‘decades
                  ‘dumping’ of thousands of                     to resolve the currently pending
                  cases into the court system.                  claims in the tort system’ and
                  The suits are already there.                  another 10,000 would be added to
                  J&J, in agreeing to defend                    the backlog each year.” Debtor
                  the claims, is not taking                     Appellee Brief, pg. 17.
                  away anyone’s claims or
                  rights. It is J&J’s rights that
                  are being denied under the
                  status quo.” Id., ¶ 74.




                                                     5
Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                           Document    Page 19 of 80




               EXHIBIT A1
Case
Case21-30589-MBK
     23-12825-MBK
           Case 19-10289-LSS
                   Doc
                    Doc3117
                        503 Filed
                              Filed
                               Doc05/13/23
                                    10/07/22
                                    1769 Filed
                                             Entered
                                             Entered
                                               05/28/20
                                                      05/13/23
                                                       10/07/22
                                                           Page00:00:55
                                                                12:25:21
                                                                 1 of 47 Desc
                                                                         DescMain
                                                                              Main
                          Document
                           Document PagePage134
                                             20 of 80
                                                   206



                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF DELAWARE


     In re                                                       Chapter 11

     IMERYS TALC AMERICA, INC., et al. 1                         Case No. 19–10289 (LSS)

                      Debtors.                                   Jointly Administered




                 JOHNSON & JOHNSON’S OMNIBUS REPLY IN SUPPORT
                 OF J&J’S MOTION FOR ENTRY OF ORDER MODIFYING
             AUTOMATIC STAY TO IMPLEMENT TALC LITIGATION PROTOCOL




 1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
 Imerys Talc America, Inc. (6358), Imerys Talc Vermont, Inc. (9050), and Imerys Talc Canada Inc. (6748). The
 Debtors’ address is 100 Mansell Court East, Suite 300, Roswell, Georgia 30076.



 WEIL:\97492140\24\54966.0222
Case
Case21-30589-MBK
     23-12825-MBK
           Case 19-10289-LSS
                   Doc
                    Doc3117
                        503 Filed
                              Filed
                               Doc05/13/23
                                    10/07/22
                                    1769 Filed
                                             Entered
                                             Entered
                                               05/28/20
                                                      05/13/23
                                                       10/07/22
                                                           Page00:00:55
                                                                12:25:21
                                                                 8 of 47 Desc
                                                                         DescMain
                                                                              Main
                          Document
                           Document PagePage141
                                             21 of 80
                                                   206



 same claim—one as to Imerys and another in the tort system as to J&J—potentially leading to

 inconsistent results and overcompensation of the claims. If the Motion is not granted, J&J could

 prevail against a particular plaintiff after a fair and lengthy trial and yet still have to pay that same

 plaintiff’s claims under the Imerys Plan. That is not fair. Or J&J could theoretically lose at trial

 and pay the plaintiff’s full claim and then still have to pay the plaintiff again under the Imerys

 TDPs, an unjustifiable double recovery. 3

           4.        Through the Motion, to avoid these results, J&J makes an extraordinary offer: to

 take over liability for, and thereby remove from the Debtors’ bankruptcy estates, most of the

 Debtors’ liabilities—approximately 90% of the current and future claims against the Debtors. The

 holders of these claims (the J&J Talc Claims), the very claims that precipitated the Debtors’ filing

 of these Chapter 11 Cases, will be treated as if the Debtors’ Chapter 11 Cases were never filed.

 They will keep their day in court and be assured a full recovery of any judgment or settlement,

 backed by the credit of one of the world’s largest companies, J&J. In the revised proposed order

 approving the Motion, attached hereto as Exhibit A (the “Revised Proposed Order”), J&J has

 also now agreed to pick up full indemnity for J&J Talc Claims for all years, regardless of the

 timing of exposure, beyond J&J’s alleged obligations even under the most expansive reading of

 the indemnity agreements. 4 This eliminates one major “issue” raised by the objectors to the

 Motion. In addition, J&J would waive its claims against the Debtors and most of its defenses to

 indemnity. This will resolve the Unresolved Indemnity Issues, as described in the Motion,



 3
  While J&J would have rights to set off, this right varies by jurisdiction and the circumstances and timing of the
 Trust’s payments. J&J reserves all rights to assert any claims it may have against the Debtors, the Reorganized
 Debtors, and/or the Trust, including claims for contribution or set-off, if the Motion is denied.
 4
  J&J would indemnify for all years in which the Debtors supplied J&J talc, not merely the years in which it could
 potentially be owed. Importantly, under the contracts, J&J’s indemnity obligations only cover exposure from years
 up through the year 2000. And, while the 2011 MPA provided that J&J would indemnify Debtors for that calendar
 year – there was no survival language, thus terminating J&J’s obligations upon expiration of the Agreement.


                                                         3
 WEIL:\97492140\24\54966.0222
Case
Case21-30589-MBK
     23-12825-MBK
           Case 19-10289-LSS
                    Doc
                    Doc3117
                        503 Filed
                              Filed
                              Doc 05/13/23
                                    1769
                                    10/07/22
                                           Filed
                                               Entered
                                               Entered
                                                 05/28/20
                                                        05/13/23
                                                         10/07/22
                                                             Page00:00:55
                                                                  12:25:21
                                                                  14 of 47 Desc
                                                                           DescMain
                                                                                Main
                          Document
                           Document Page Page147
                                               22 of 80
                                                     206



           15.       Under these circumstances, perhaps it should come as no surprise that the TCC and

 FCR object to going back to the tort system, apparently seeking for the tort claimants a higher and

 more certain payout in these Chapter 11 Cases (where they can inflate values, settle claim amounts

 for numbers of their own choosing without proving causation, and establish their own eligibility

 criteria) than they would potentially receive outside of chapter 11. But, as the United States

 Supreme Court has cautioned, this is an illegitimate expectation. See Butner v. United States, 440

 U.S. 48, 55 (1979) (a creditor should not obtain a “windfall merely by reason of the happenstance

 of bankruptcy”); see also JPMorgan Chase Bank, N.A. v. Charter Commc’ns Operating, LLC (In

 re Charter Commc’ns), 419 B.R. 221, 224 (Bankr. S.D.N.Y. 2009), appeal dismissed, 449 B.R.

 14 (S.D.N.Y. 2011), aff’d, 691 F.3d 476 (2d Cir. 2012) (“It is an axiomatic principle of chapter 11

 practice that creditors cannot be elevated to a better position than their pre-petition legal

 entitlements.”) (citing Butner). Even if estimation of mass tort claims and settlement through a

 trust may be appropriate in other chapter 11 cases, they are not appropriate when a credit-worthy



 2738, Civil Action No. 16-2738 (FLW) (D.N.J. April 27, 2020) [D.I. 13186]. The purposes of this transfer and
 “centralization” process is to avoid duplication of discovery, to prevent inconsistent pretrial rulings, and to conserve
 the resources of the parties, their counsel, and the judiciary. Thereafter, plaintiffs and J&J filed motions challenging
 the scientific reliability of the opinions of each side’s causation experts. In August of 2019, the Chief Judge of the
 U.S. District Court for the District of New Jersey, Honorable Freda L. Wolfson, conducted a Daubert hearing to
 determine the admissibility of eight of the challenged experts’ opinions. The Debtors did not participate in this hearing
 because of the automatic stay.
 On April 27, 2020, the court issued a ruling significantly limiting the testimony of two of plaintiffs’ key expert
 witnesses: asbestos testing expert, Dr. William Longo, and biology expert, Dr. Ghassen Saed, finding that these
 witnesses did not present scientifically sound evidence to support key aspects of their opinions. Specifically, Judge
 Wolfson excluded the testimony of plaintiffs’ asbestos testing expert, Dr. William Longo regarding the results of his
 polarized light microscopy (PLM) testing due, in part, to his own prior statements that it was not a reliable
 methodology. Id. at 56. Further, and significantly, Judge Wolfson barred Dr. Longo from testifying in any fashion
 that women who used talcum powder were exposed to any level of asbestos, let alone a level significant enough to
 cause ovarian cancer because he “fail[ed] to offer any scientific support for his opinion that the use of Defendants’
 talc products causes exposure, let alone significant exposure, to asbestos.” Id. at 59. Finally, the Court also excluded
 plaintiffs’ theory that inhalation of talc can cause ovarian cancer, citing the “scant” support offered by plaintiffs’
 experts for that theory. Id. at 96–97. In addition, Judge Wolfson excluded plaintiff’s expert biologist Dr. Saed from
 testifying that his experiments showed that talc could cause ovarian cancer because the Court found that his opinion
 that “the use of talc causes ovarian cancer” was “unsupported by the findings of his study” and was an “unreliable”
 conclusion. Id. Notably, in the same ruling, Judge Wolfson denied plaintiffs’ motion to exclude or limit the opinions
 and testimony of any of defendants’ experts.


                                                            9
 WEIL:\97492140\24\54966.0222
Case
Case21-30589-MBK
     23-12825-MBK
           Case 19-10289-LSS
                    Doc
                    Doc3117
                        503 Filed
                              Filed
                              Doc 05/13/23
                                    1769
                                    10/07/22
                                           Filed
                                               Entered
                                               Entered
                                                 05/28/20
                                                        05/13/23
                                                         10/07/22
                                                             Page00:00:55
                                                                  12:25:21
                                                                  15 of 47 Desc
                                                                           DescMain
                                                                                Main
                          Document
                           Document Page Page148
                                               23 of 80
                                                     206



 party is standing ready to take over the claims and pay proven claims in full. None of the objectors

 cite to a single case in which claims were estimated and settled under such circumstances.

           16.       Granting J&J’s requested relief is thus necessary to protect J&J from hardship. It

 will not only eliminate the moral hazard problem, it will ensure that these Chapter 11 Cases are

 conducted consistently with the fundamental tenet that bankruptcy cannot be used for improper

 purposes. “The conduct of bankruptcy proceedings not only should be right but must seem right.”

 Knapp v. Seligson (In re Ira Haupt & Co.), 361 F.2d 164, 168 (2d Cir. 1966). And the right thing

 to do in these cases is to grant the Motion to permit J&J take over the defense to the claims.

                         SUMMARY OF ARGUMENT ON REXENE FACTORS

           17.       Application of the Rexene factors and their underlying principles points in favor of

 granting the motion, lifting the stay, and permitting J&J to implement the Talc Litigation Protocol.

 Unlike a case where a court must compare a burden to the estate against a hardship to the party

 seeking to lift the stay, in this case, granting the relief will both lead to benefits to the estate and

 alleviate hardship to J&J, all without prejudice to individual tort claimants’ right to have their day

 in court. That is, all the relevant factors point in the same direction: to lifting the stay. And even

 if the Court were to find that that there are burdens to the estate, they are incidental and

 insignificant, and easily outweighed by the direct and concrete hardship to J&J.

           18.       Below is a summary of the main facts supporting application of the Rexene factors.

           19.       First, the Debtors will benefit from and are not harmed by the relief sought in the

 Motion:

                 1) Payment in Full of Most Claims and Higher Recoveries for Other Claims. J&J’s
                    proposal essentially guarantees payment in full to holders of J&J Talc Claims who
                    have successful claims, without the Debtors having to use their assets to pay those
                    claims. This also benefits the holders of non-J&J Talc Claims, as a greater
                    percentage of the Debtors’ assets will be available to pay those claims.



                                                      10
 WEIL:\97492140\24\54966.0222
Case
Case21-30589-MBK
     23-12825-MBK
           Case 19-10289-LSS
                    Doc
                    Doc3117
                        503 Filed
                              Filed
                              Doc 05/13/23
                                    1769
                                    10/07/22
                                           Filed
                                               Entered
                                               Entered
                                                 05/28/20
                                                        05/13/23
                                                         10/07/22
                                                             Page00:00:55
                                                                  12:25:21
                                                                  16 of 47 Desc
                                                                           DescMain
                                                                                Main
                          Document
                           Document Page Page149
                                               24 of 80
                                                     206



                 2) Financial Certainty for Future Claims. For future claimants especially, J&J’s offer
                    presents a far superior deal. J&J as a source of recovery for future claimants who
                    can prove their claims is undoubtedly a more certain bet than the standard
                    bankruptcy claims trust.

                 3) Preservation of Indemnity Rights. Without the requested relief, there is a good
                    chance that the holders of talc claims against the Debtors allegedly arising from use
                    of J&J products will lose the benefit of any value of J&J’s indemnity agreement
                    with respect to the Debtors’ liability given J&J’s strong defenses based on the
                    Debtors’ actions and the section 524(g) settlement. Moreover, J&J submits that the
                    Debtors cannot assume the J&J indemnity agreements, which are executory
                    contracts, under section 365 of the Bankruptcy Code because they cannot cure the
                    Debtors’ breach of the provision permitting J&J to assume the defense of the claims
                    unless they actually let J&J assume the defense of claims (or their failure to abide
                    by the cooperation provisions or the defense based on non-conforming talc).

                 4) Waiver of J&J’s Indemnity Claims. The Responses fail to mention J&J’s
                    indemnification claims under the 2001 agreement for which J&J filed a proof of
                    claim. Without the relief requested, J&J will continue to pursue these claims
                    against the Debtors (and will pursue its objections that the Plan does not treat these
                    claims properly).

                 5) Avoidance of the Unresolved Indemnity Issues. Granting the Motion resolves
                    complicated litigation that will otherwise be necessary not only to resolve J&J’s
                    defenses to the Debtors’ indemnity claims, but also the complicated allocation
                    issues relating to J&J’s own indemnity claims and gap years.

                 6) Preservation of Insurance. Granting the relief will increase the chances that the
                    Debtors’ insurance will be available to satisfy Talc Claims. In contrast, without the
                    requested relief, and to the extent the Debtors are found to have breached their
                    obligations as indemnitees under agreements with J&J, then the Debtors’ insurers
                    may argue that the Debtors’ actions impairing the indemnification claims against
                    J&J have vitiated the Debtors’ claims to insurance with respect to future payouts
                    by the Debtors’ insurers.

           20.       Second, the issues raised (and exaggerated) in the Responses do not outweigh the

 foregoing benefits:

                 1) J&J now agrees to expand the dates in its proposal to cover all time periods of
                    alleged exposure to J&J products, eliminating one of the issues raised in several
                    Responses.

                 2) The cooperation provisions are standard and necessary to defend the claims and
                    J&J commits to work with the Debtors to ensure that its requests are reasonable. In
                    addition, J&J has modified the cooperation provisions in the Revised Proposed
                    Order to eliminate some of the language the objectors criticized.


                                                      11
 WEIL:\97492140\24\54966.0222
Case
Case21-30589-MBK
     23-12825-MBK
           Case 19-10289-LSS
                    Doc
                    Doc3117
                        503 Filed
                              Filed
                              Doc 05/13/23
                                    1769
                                    10/07/22
                                           Filed
                                               Entered
                                               Entered
                                                 05/28/20
                                                        05/13/23
                                                         10/07/22
                                                             Page00:00:55
                                                                  12:25:21
                                                                  21 of 47 Desc
                                                                           DescMain
                                                                                Main
                          Document
                           Document Page Page154
                                               25 of 80
                                                     206



 filed their Plan. Deferring the issue of J&J assuming the defense of the claims until confirmation

 will potentially result in a great waste of estate resources soliciting a Plan that is not appropriate

 in light of J&J’s offer and prejudice J&J, as the Debtors will beat the “too late” drum even harder

 when they are on the brink of emerging from chapter 11 and have gone through the cost and time

 of solicitation. For this reason, now is the best time for the Court to grant the Motion.

      A.         Lifting the Stay Will Benefit the Debtors and Their Estates, Not Prejudice Them.

           30.       J&J has proposed something that any normal debtor would surely welcome: to take

 away and pay (in accordance with applicable non-bankruptcy law) the vast majority of the Debtors’

 largest liabilities. J&J has offered to assume the defense and indemnify Imerys for all J&J Talc

 Claims, encompassing (by the Debtors’ calculations) 99.8% of the total ovarian cancer claims and

 80.1% of the total mesothelioma claims against Debtors. 18 See Disclosure Statement 4.1(a). By

 assuming those liabilities, J&J’s proposal would expand the assets available to the Debtors’ estates,

 benefitting other creditors. The individual tort claimants who hold J&J Talc Claims would

 particularly benefit by taking their claims out of the bankruptcy and restoring to each full due

 process rights to “have h[er or his] own day in court.” Taylor v. Sturgell, 553 U.S. 880, 892 (2008)

 (quoting Richards v. Jefferson County, 517 U.S. 793, 798 (1996)).

           31.       The benefits do not end there. Many other benefits are apparent and detailed in

 both the Motion and the summary of the Rexene factors section above, but in brief summary, they

 include:


 18
    J&J has not verified these numbers, but notes that to the extent any claimant asserts a claim based on exposure both
 to a J&J product and a product not manufactured by J&J, J&J will only assume the defense of and pay for liability
 associated with J&J products. Thus, some claimants may continue to assert a claim against the Trust relating to other
 products (assuming they can satisfy the Trust’s eligibility criteria for those products) while simultaneously proceeding
 against J&J in the tort system with respect to claims based on J&J products. This bifurcation, which may only apply
 to a small percentage of the claims, is not all that different than the bifurcation that would exist under the Plan for all
 the J&J Talc Claims—for the same injury caused by the same product, a plaintiff would simultaneously collect from
 the Trust and sue J&J and other manufacturing defendants in the tort system. J&J’s proposal consolidates all alleged
 liability resulting from a single product.


                                                            16
 WEIL:\97492140\24\54966.0222
Case
Case21-30589-MBK
     23-12825-MBK
           Case 19-10289-LSS
                    Doc
                    Doc3117
                        503 Filed
                              Filed
                              Doc 05/13/23
                                    1769
                                    10/07/22
                                           Filed
                                               Entered
                                               Entered
                                                 05/28/20
                                                        05/13/23
                                                         10/07/22
                                                             Page00:00:55
                                                                  12:25:21
                                                                  27 of 47 Desc
                                                                           DescMain
                                                                                Main
                          Document
                           Document Page Page160
                                               26 of 80
                                                     206



 rights J&J possesses under insurance and indemnity law upon assuming the indemnitee’s defense.

 Certain insurance carriers negotiated agreed language in J&J’s Revised Proposed Order, and their

 consent to J&J’s requested relief confirms that J&J’s proposal merely maintains the status quo

 (i.e., that J&J is not waiving any rights it might have under applicable law to those insurance

 policies), not increasing any rights J&J might have to insurance policies. In addition, this argument

 completely ignores that (i) these insurance allocation issues already exist in the Plan (see, e.g.,

 Plan § 11.4.1) and (ii) if avoiding complicated allocation issues is a goal, then granting the Motion

 would further it, because, as explained in the Motion, this would resolve the complicated

 Unresolved Indemnity Issues relating to the competing indemnity agreements.

           41.       Fifth, the Debtors contend, in four full paragraphs, that J&J may lack the financial

 wherewithal to meet its obligations. Debtors’ Objection ¶¶ 33–38. This is the most absurd

 argument the Debtors make (and the one that most demonstrates that they are grasping at straws).

 As of the date hereof, J&J has a market capitalization of over $385 billion and extensive insurance

 coverage of its own. It is one of the top 10 companies in the United States by market value. 25 J&J

 can provide the claimants far greater protection than the Debtors or the bankruptcy claims trust

 ever could (as discussed above). More fundamentally, the Debtors’ own plan relies on J&J’s

 ability to pay individual claims. Even if the risk that the Debtors identified were realistic rather

 than fanciful, it thus would provide no reason to deny J&J’s motion because the same risk is also

 present under the Debtors’ own Plan.

           42.       Those five arguments lack merit. But more concerning, and more broadly, the

 Debtors’ failure to even acknowledge the obvious countervailing benefits suggests that the




 25
        See   Bloomberg,    JNJ     company       information   and    market    quotes,   available   at
 https://www.bloomberg.com/quote/JNJ:US.


                                                      22
 WEIL:\97492140\24\54966.0222
Case
Case21-30589-MBK
     23-12825-MBK
           Case 19-10289-LSS
                    Doc
                    Doc3117
                        503 Filed
                              Filed
                              Doc 05/13/23
                                    1769
                                    10/07/22
                                           Filed
                                               Entered
                                               Entered
                                                 05/28/20
                                                        05/13/23
                                                         10/07/22
                                                             Page00:00:55
                                                                  12:25:21
                                                                  41 of 47 Desc
                                                                           DescMain
                                                                                Main
                          Document
                           Document Page Page174
                                               27 of 80
                                                     206



 its rights to access the insurance that would otherwise be available for J&J Talc Claims. As a

 result, J&J’s reservation will not prejudice the estates.

           73.       Fifth, the TCC asserts that any order must provide that no rights of the Debtors, the

 TCC, or the Talc Claimants are waived against J&J. TCC Response ¶¶ 26–28. The Talc Litigation

 Protocol does not seek any such waiver. In fact, J&J is agreeing to take on liability beyond

 anything it could be contractually obligated to do. J&J is seeking party-in-interest status for the

 limited purpose of avoiding any negative impact to its right to defend the J&J Talc Claims in the

 tort system. The TCC and other parties in the case should prefer that J&J bring its issues before

 the Bankruptcy Court, given their purported concern that J&J would simply terminate the

 indemnity if the Debtors breach. Moreover, the TCC and the FCR have no rights as against J&J—

 they are not a party to the indemnity agreements, and the agreements are clear that there are no

 third-party beneficiaries. See 1989 SPA § 13.1; 1989 SA § 15(a). Rather, the agreements are for

 the benefits of the parties thereto. Thus, the TCC and the FCR are losing no rights under the Talc

 Litigation Protocol.

           74.       The TCC’s attempts to pull at heartstrings are inapposite. J&J acknowledges that

 the individual plaintiffs have a terrible disease and are indeed suffering, but J&J firmly believes,

 and the science demonstrates, that J&J’s products did not cause or contribute to those illnesses and

 instead are safe. More importantly, J&J is offering each of those plaintiffs her or his own day in

 court to attempt to prove her/his allegations—against the Debtors and against J&J. Because each

 holder of a current J&J Talc Claim is already suing J&J (and those in the future would similarly

 sue J&J), granting the Motion does not require any plaintiff to pursue a court case that she or he is

 not already pursuing. There will be no “dumping” of thousands of cases into the court system.




                                                      36
 WEIL:\97492140\24\54966.0222
 Case
 Case21-30589-MBK
      23-12825-MBK
            Case 19-10289-LSS
                     Doc
                     Doc3117
                         503 Filed
                               Filed
                               Doc 05/13/23
                                     1769
                                     10/07/22
                                            Filed
                                                Entered
                                                Entered
                                                  05/28/20
                                                         05/13/23
                                                          10/07/22
                                                              Page00:00:55
                                                                   12:25:21
                                                                   42 of 47 Desc
                                                                            DescMain
                                                                                 Main
                           Document
                            Document Page Page175
                                                28 of 80
                                                      206



    The suits are already there. 35 J&J, in agreeing to defend the claims, is not taking away anyone’s

       claims or rights. It is J&J’s rights that are being denied under the status quo.

III.      The FCR Joinder Fails for Similar Reasons as the TCC Response.

              75.       The FCR joined the TCC’s response and filed a limited objection to J&J’s motion,

   argues that the Motion should be denied unless the modifications outlined in the TCC Response

   are adopted. The FCR Joinder lack merit, largely for reasons discussed above.

              76.       First, the FCR argues that J&J is improperly seeking to force the Debtors to waive

   certain rights to assert indemnification and to reserve rights to the Debtors’ insurance policies

   unilaterally. J&J is doing no such thing, as previously discussed. See supra ¶ 72. Second, the

   FCR argues that J&J does not offer evidence satisfying the Rexene factors. As summarized in

   paragraphs 17–21 hereof, J&J has satisfied the Rexene factors. See supra ¶¶ 17–21, 30–56. Third,

   the FCR argues that J&J should be required to indemnify all claims and demands against the

   Debtors and their affiliates for all years. As explained above, J&J has agreed to cover all years,

   but there is no basis to require J&J to cover non-J&J Talc Claims or the Debtors’ affiliates.

              77.       Fourth, the FCR argues that J&J should not be afforded “party-in-interest” standing

   in these chapter 11 cases. Specifically, the FCR asserts that J&J points to no actual or imminent

   injury that would afford it standing in these cases. That is incorrect. As discussed above, J&J will

   need to ensure that its ability to defend the claims is not prejudiced, and J&J ability to police this

   issue more closely and raise issues early will actually mitigate the concern raised by the parties

   that J&J will somehow seek to cease defending the claims.




    35
     The tort claims that J&J seeks to assume the defense of all have something in common: they involve J&J products
   and already exist in the tort system as against J&J. J&J is unaware of even a single plaintiff who asserts a J&J Talc
   Claim against the Debtors while not also naming J&J as a co-defendant. Thus, irrespective of this Court’s decision
   on J&J’s Motion, there will be the same exact number of J&J Talc Claims in the tort system.


                                                           37
    WEIL:\97492140\24\54966.0222
Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                           Document    Page 29 of 80




               EXHIBIT A2
         Case: 22-2003
Case 23-12825-MBK    Doc Document:
                         503 Filed 104   Page:
                                   05/13/23    1
                                             EnteredDate Filed: 00:00:55
                                                      05/13/23  08/15/2022Desc Main
                            Document    Page 30 of 80



                Nos. 22-2003, 22-2004, 22-2005, 22-2006, 22-2007,
                       22-2008, 22-2009, 22-2010, 22-2011


                                                IN THE
                   United States Court of Appeals
                        for the Third Circuit
                             ____________________

                         IN RE: LTL MANAGEMENT, LLC,
                                                                             Debtor
                             _______________________________________________________




                    *OFFICIAL COMMITTEE OF TALC CLAIMANTS
                                                                              Appellant

                 *(Amended per Court’s Order dated 06/10/2022)
                             ____________________
             On direct appeal from the United States Bankruptcy Court
       for the District of New Jersey, No. 21-30589, Adv. Proc. No. 21-3023
                              ____________________
                       BRIEF FOR DEBTOR-APPELLEE
                            ____________________
     GREGORY M. GORDON                                    NEAL KUMAR KATYAL
     BRAD B. ERENS                                        SEAN MAROTTA
     DAN B. PRIETO                                        WILLIAM E. HAVEMANN
     JONES DAY                                            JO-ANN TAMILA SAGAR
     2727 North Harwood Street                            PATRICK C. VALENCIA
     Dallas, Texas 75201                                  HOGAN LOVELLS US LLP
                                                          555 Thirteenth Street, N.W.
     C. KEVIN MARSHALL                                    Washington, D.C. 20004
     DAVID S. TORBORG                                     (202) 637-5600
     JONES DAY                                            neal.katyal@hoganlovells.com
     51 Louisiana Avenue, N.W.
     Washington, D.C. 20001                               Counsel for Debtor-Appellee

     August 15, 2022
        Case: 22-2003DocDocument:
Case 23-12825-MBK       503 Filed104   Page:Entered
                                  05/13/23   19    Date  Filed:00:00:55
                                                     05/13/23   08/15/2022Desc Main
                           Document    Page 31 of 80



 JJCI was prepared to fight every case filed in the mass-tort system. And Old JJCI

 was almost always successful; many cases were dismissed, and in 32 of the 41

 cases that went to verdict, Old JJCI was not found liable, if not with the jury then

 on appeal.

       Although Old JJCI was being largely vindicated in the tort system, two

 concerns loomed large. First, Old JJCI’s vigorous defense did not come cheap;

 defense costs alone were projected to run into the billions. Second, plaintiffs

 occasionally hit the jackpot with juries, racking up outlier verdicts in the hundreds

 of millions or even billions. Talc-litigation costs pushed Old JJCI, as well as the

 entire Global Consumer Business of which Old JJCI was a part, from profit to a

 loss in just one year and cast doubt on whether the company could keep its head

 above water.

       Worse, the mass-tort system was failing claimants. At the rate cases were

 being tried, it would have taken hundreds—if not thousands—of years to give all

 plaintiffs their day in court, to say nothing of the new plaintiffs whose lawsuits

 were piling up at a staggering rate. And the tort system was yielding results that

 were becoming increasingly difficult to rationalize. Most plaintiffs got nothing; a

 handful got tens of millions or billions. Future claimants could be shut out

 entirely. This lottery benefited lawyers and a handful of lucky plaintiffs whose




                                           2
        Case: 22-2003DocDocument:
Case 23-12825-MBK       503 Filed104   Page:Entered
                                  05/13/23   34    Date  Filed:00:00:55
                                                     05/13/23   08/15/2022Desc Main
                           Document    Page 32 of 80



 one part—to book a pre-tax loss of $893.4 million during that 20-month period,

 A7227, and swing from a $2.1 billion profit in 2019 to a $1.1 billion loss in 2020.

 A4.

       Based on past outcomes, the Bankruptcy Court estimated that LTL could

 expect more than $15 billion in potential liability from its existing inventory of 430

 mesothelioma claims, many billions more for the 38,000 existing ovarian-cancer

 claims, and yet even more for the not-yet-asserted claims. A17, 7137-41. It would

 cost Old JJCI $190 billion just to try the current claims—as a single ovarian-cancer

 trial costs Old JJCI between $2 million and $5 million, A2170—to say nothing of

 the costs to defend claims for the next 50 years. A458. All told, it would cost Old

 JJCI tens to hundreds of billions of dollars to resolve current and future claims.

 A34, 37, 40. On top of that, Old JJCI could owe billions more in indemnification

 to its talc suppliers. A16, 24, 7130.

       Worse still, 38,000 claimants could not all get their day in court any time

 soon, if at all. In Missouri, one of plaintiffs’ favored jurisdictions, only 297 civil

 jury verdicts of any kind were returned in 2019. At that pace, it would have taken

 “decades to resolve the currently pending claims in the tort system” and another

 10,000 would be added to the backlog each year. A7264. Although roughly

 35,000 claims have been consolidated into a New Jersey multidistrict litigation, the

 MDL judge’s principal role is to coordinate pretrial proceedings, and cases would



                                            17
        Case: 22-2003DocDocument:
Case 23-12825-MBK       503 Filed104   Page:Entered
                                  05/13/23   67    Date  Filed:00:00:55
                                                     05/13/23   08/15/2022Desc Main
                           Document    Page 33 of 80



 by J&J.” A&I Br. 41. Talc-related expenses were charged to Old JJCI because it

 had legal responsibility for them. A4107 (“[A]ll costs that relate to this talc matter

 get sent to, to JJCI”); A8103 (“[T]hese are talc product liability costs that JJCI was

 ultimately responsible for, which is why it is showing up as a expense on their

 account.”).

       Claimants also ignore the Bankruptcy Court’s finding that Old JJCI’s talc

 liabilities were so massive that even J&J itself could not satisfy them indefinitely.

 A40-41. The court found “that the weight of evidence supports a finding that J&J

 and Old JJCI were in fact facing a torrent of significant talc-related liabilities for

 years to come.” A40 (emphasis added). It explained that the talc liabilities were

 so substantial “that the continued viability of all J&J companies is imperiled.”

 A36 (emphasis added). Not even J&J could “sustain operations and remain viable

 in the long term with juries poised to render nine and ten figure judgments, and

 with such litigation anticipated to last decades going forward.” A37. Although

 claimants repeatedly cite J&J’s significant market capitalization and strong credit

 rating, see TCC Br. 8; A&I Br. 42, they cite no evidence suggesting that J&J had

 the capacity to pay tens of billions of dollars in defense costs and verdicts for

 decades without falling into financial distress. Even if J&J’s financial health were

 relevant, the Bankruptcy Court’s findings should still be upheld.




                                            50
Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                           Document    Page 34 of 80




               EXHIBIT A3
Case     Case: 22-2003
Case21-30589-MBK
     23-12825-MBK   Doc Document:
                     Doc3117  Filed148
                        503 Filed        Page:
                                   05/13/23
                                    10/07/22   1
                                             Entered
                                             Entered Date  Filed: 00:00:55
                                                       05/13/23
                                                        10/07/22  10/04/2022
                                                                   12:25:21 Desc
                                                                             DescMain
                                                                                 Main
                           Document
                           Document PagePage11
                                             35ofof206
                                                    80



                            UNITED STATES COURT OF APPEALS
                                 FOR THE THIRD CIRCUIT

        IN RE:                        .            Case No. 22-2003/22-2004
                                      .
        LTL MANAGEMENT LLC,           .            21400 U.S. Courthouse
                       Debtor,        .            601 Market Street
                                      .            Philadelphia, PA 19106
        OFFICIAL COMMITTEE OF TALC    .
        CLAIMANTS,                    .            Monday, September 19, 2022
                       Appellant.     .
         . . . . . . . . . . . . . . ..
        IN RE                         .            Case No. 22-2005
                                      .
        LTL MANAGEMENT LLC,           .
                       Debtor.        .
                                      .
        LTL MANAGEMENT, LLC.          .
                                      .
                   v.                 .
                                      .
        THOSE PARTIES LISTED ON       .
        APPENDIX A TO COMPLAINT AND   .
        JOHN AND JANE DOES 1-1000     .
        OFFICIAL COMMITTEE OF TALC    .
        CLAIMANTS,                    .
                       Appellant.     .
         . . . . . . . . . . . . . . ..
        IN RE:                        .            Case No. 22-2006/22-2007
                                      .
        LTL MANAGEMENT LLC,           .
                       Debtor.        .
                                      .
        OFFICIAL COMMITTEE OF TALC    .
        CLAIMANTS, ET AL.             .
                       Appellants.    .
         . . . . . . . . . . . . . . ..
        IN RE:                        .            Case No. 22-2008
                                      .
        LTL MANAGEMENT LLC,           .
                       Debtor.        .
                                      .
        LTL MANAGEMENT LLC            .
                                      .
                   v.                 .
                                      .
        THIRD PARTIES LISTED ON       .
        APPENDIX A TO COMPLAINT AND   .
        JOHN AND JANE DOES 1-1000,    .
        OFFICIAL COMMITTEE OF TALC    .
        CLAIMANTS, ET AL.             .
Case     Case: 22-2003
Case21-30589-MBK
     23-12825-MBK   Doc Document:
                     Doc3117  Filed148
                        503 Filed        Page:
                                   05/13/23
                                    10/07/22   2
                                             Entered
                                             Entered Date  Filed: 00:00:55
                                                       05/13/23
                                                        10/07/22  10/04/2022
                                                                   12:25:21 Desc
                                                                             DescMain
                                                                                 Main
                           Document
                           Document PagePage12
                                             36ofof206
                                                    80

                                                                                        2

        OFFICIAL COMMITTEE OF TALC    .
        CLAIMANTS, ET AL.             .
                        Appellants.   .
         . . . . . . . . . . . . . . ..
        IN RE:                        .            Case No. 22-2009
                                      .
        LTL MANAGEMENT LLC,           .
                        Debtor.       .
                                      .
        ARNOLD & ITKIN LLP, ON BEHALF .
        OF CERTAIN PERSONAL INJURY    .
        CLAIMANTS REPRESENTED BY      .
        ARNOLD & ITKIN,               .
                        Appellant.    .
         . . . . . . . . . . . . . . ..
        IN RE:                        .            Case No. 22-2010
                                      .
        LTL MANAGEMENT LLC,           .
                        Debtor.       .
                                      .
        AYLSTOCK WITKIN KRIES &       .
        OVERHOLTZ PLLC, ON BEHALF OF .
        MORE THAN THREE THOUSAND      .
        HOLDERS OF TALC CLAIMS,       .
                        Appellant.    .
         . . . . . . . . . . . . . . ..
        IN RE:                        .            Case No. 22-2011
                                      .
        LTL MANAGEMENT LLC,           .
                        Debtor.       .
                                      .
        LTL MANAGEMENT LLC            .
                                      .
                  v.                  .
                                      .
        THOSE PARTIES LISTED ON       .
        APPENDIX A TO COMPLAINT AND   .
        JOHN AND JANE DOES 1-1000     .
                                      .
        AYLSTOCK WITKIN KRIES &       .
        OVERHOLTZ, PLLC., ON BEHALF OF.
        MORE THAN THREE THOUSAND      .
        HOLDERS OF TALC CLAIMS,       .
                        Appellant     .
         . . . . . . . . . . . . . . ..




                                       WWW.JJCOURT.COM
Case     Case: 22-2003
Case21-30589-MBK
     23-12825-MBK   Doc Document:
                     Doc3117  Filed148
                        503 Filed        Page:
                                   05/13/23
                                    10/07/22   3
                                             Entered
                                             Entered Date  Filed: 00:00:55
                                                       05/13/23
                                                        10/07/22  10/04/2022
                                                                   12:25:21 Desc
                                                                             DescMain
                                                                                 Main
                           Document
                           Document PagePage13
                                             37ofof206
                                                    80

                                                                                        3

                              TRANSCRIPT OF ORAL ARGUMENT
                                         BEFORE
                         THE HONORABLE JUDGE THOMAS L. AMBRO
                          UNITED STATES THIRD CIRCUIT JUDGE
                           THE HONORABLE L. FELIPE RESTREPO
                          UNITED STATES THIRD CIRCUIT JUDGE
                            THE HONORABLE JULIO M. FUENTES
                          UNITED STATES THIRD CIRCUIT JUDGE

        APPEARANCES:

        For the Appellants:            MoloLamken
                                       By: JEFFREY A. LAMKEN, ESQ.
                                       600 New Hampshire Avenue, N.W.
                                       Washington, D.C. 20037

                                       Kellogg Hansen Todd Figel & Frederick
                                       BY: DAVID C. FREDERICK, ESQ.
                                       1615 M Street, N.W., Suite 400
                                       Washington, D.C. 20036

        For U.S. Trustee:              U.S. Department of Justice
                                       By: SEAN JANDA, ESQ.
                                       Appellate Section
                                       Room 7260
                                       950 Pennsylvania Avenue, N.W.
                                       Washington, D.C. 20530

        For Appellees:                 Hogan Lovells US
                                       By: NEAL K. KATYAL, ESQ.
                                       555 Thirteenth Street, N.W.
                                       Washington, D.C. 20004




        Proceedings recorded by electronic sound recording, transcript
                       produced by transcription service.
        _______________________________________________________________

                              J&J COURT TRANSCRIBERS, INC.
                                  268 Evergreen Avenue
                               Hamilton, New Jersey 08619
                              E-mail: jjcourt@jjcourt.com

                      (609)586-2311         Fax No. (609) 587-3599


                                       WWW.JJCOURT.COM
Case    Case: 22-2003
Case21-30589-MBK
     23-12825-MBK   DocDocument:
                    Doc 3117  Filed148
                        503 Filed         Page:Entered
                                    05/13/23
                                     10/07/22   61
                                               EnteredDate  Filed:00:00:55
                                                        05/13/23
                                                         10/07/22  10/04/2022Desc
                                                                   12:25:21  DescMain
                                                                                  Main
                           Document
                           Document Page Page7138of
                                                  of206
                                                     80

                                                                                     61

     1 restructured and created two entities, New JJCI and LTL.                  Every

     2 dollar that the Old JJCI was liable for, every dollar of its

     3 own conduct and anything alleged by J&J, the New JJCI had

     4 agreed to pay 100 percent.          The restructuring and bankruptcy

     5 petition didn't debate anything.            It was a full one-to-one

     6 placement.      Indeed, it was even more than one-to-one for

     7 reasons our brief explains.

     8              Now my friends say, well, they represent the victims

     9 and speak for them.        That proves our point and proves

   10 Congress's point.         They are all current claimants.          Our

   11 argument is that each of their tort lawsuits has tunnel vision.

   12 It examines only their individual case and delays future ones.

   13 It's a home run or a strikeout and precious few get up to bat.

   14 The only way to get a system wide resolution that's

   15 comprehensive, that protects future claimants, is through

   16 bankruptcy.

   17               Third, and finally, they ignore several key limiting

   18 principles of our argument, particularly Mr. Frederick, and

   19 four things make this case unique.             First, a latency period of

   20 nearly 50 years with many, many future claimants who can't get

   21 any relief now and who risk not getting paid.

   22               Second, wild lottery style judgments like Ingham,

   23 including some for billions, and a massive number of cases,

   24 40,000, with more filed every hour of every day of every year,

   25 creating a tsunami of litigation.


                                       WWW.JJCOURT.COM
Case    Case: 22-2003
Case21-30589-MBK
     23-12825-MBK   DocDocument:
                    Doc 3117  Filed148
                        503 Filed         Page:Entered
                                    05/13/23
                                     10/07/22   84
                                               EnteredDate  Filed:00:00:55
                                                        05/13/23
                                                         10/07/22  10/04/2022Desc
                                                                   12:25:21  DescMain
                                                                                  Main
                           Document
                           Document Page Page9439of
                                                  of206
                                                     80

                                                                                     84

     1              MR. KATYAL:      Yes.    So I apologize for that.        But our

     2 --

     3              THE COURT:      What are the opt-outs that are being

     4 considered?

     5              MR. KATYAL:      So the 524(g) process has --

     6              THE COURT:      People who can say I don't want to be

     7 part of the bankruptcy, I'm going to opt out and go forward

     8 with respect to my litigation.

     9              MR. KATYAL:      Yeah.    So, I mean, I think Congress put

   10 that into the statute itself saying there has to be a 75

   11 percent requirement for the plan and then, of course, there's

   12 two-court review.         So there's a lot that has to happen.

   13               And I think the most important point about that is --

   14               THE COURT:      You contemplate that this plan even

   15 though it's not yet in place will allow for any type of opt-

   16 out?

   17               MR. KATYAL:      I don't know that we have gotten that

   18 far.     I think that's a pre -- to use a word from earlier, I

   19 think that's a premature question.             But I would say that, you

   20 know, 75 percent threshold is of course very daunting.                  We are

   21 highly incentivized to put a good plan together because

   22 otherwise we get returned to the mass tort system with all of

   23 the uncertainty and all of the problems attendant to it.

   24               And Judge Kaplan -- you know, my friend Mr. Frederick

   25 said he wants you to write a decision really about these facts.


                                       WWW.JJCOURT.COM
Case    Case: 22-2003
Case21-30589-MBK
     23-12825-MBK   DocDocument:
                    Doc 3117  Filed148
                        503 Filed         Page:Entered
                                    05/13/23
                                     10/07/22   85
                                               EnteredDate  Filed:00:00:55
                                                        05/13/23
                                                         10/07/22  10/04/2022Desc
                                                                   12:25:21  DescMain
                                                                                  Main
                           Document
                           Document Page Page9540of
                                                  of206
                                                     80

                                                                                     85

     1 We absolutely agree.         Judge Kaplan has said time and again his

     2 goal is to move this thing incredibly expeditiously.                 My

     3 friends on the other side said they thought this process could

     4 be done as early as the first quarter of next year.

     5              And Judge Kaplan has rejected time and again any

     6 attempt to delay the bankruptcy process which looks very

     7 different, of course, than what's going on in the tort system

     8 as Your Honor was asking my friends on the other side.                 Massive

     9 delay, only a few trials to verdict.             And, you know, as Judge

   10 Kaplan found, future trials are going to be even more delayed

   11 and very few settlements because of the Ingham verdict and

   12 other things.

   13               And so you are asked to compare two different worlds.

   14 One is the baseline of the pre-restructuring, pre-bankruptcy

   15 world in which Johnson & Johnson owes nothing, in which some

   16 people slowly get paid but that's subject of course to any

   17 other claims against Old JJCI, any recovery.                There are huge

   18 defense costs, and future claimants risk not getting paid with

   19 all the latency.

   20               And under the restructuring and the funding

   21 agreement, instead, you have a very different world, one with a

   22 $61-billion plus floor.          That money is guaranteed free and

   23 clear.      You have a faster process so current claimants get paid

   24 and future claimants have a voice at the table.                 They have a

   25 representative because that is under 524(g).                And, of course,


                                       WWW.JJCOURT.COM
Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                           Document    Page 41 of 80




                    EXHIBIT 3
Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                           Document    Page 42 of 80



                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY

      IN RE:                   .          Case No. 21-30589(MBK)
                               .
      LTL MANAGEMENT LLC,      .
                               .
                 Debtor.       .
       . . . . . . . . . . . . .
      LTL MANAGEMENT, LLC,     .          Adversary No. 21-3032(MBK)
                               .
                 Plaintiff,    .
                               .          Clarkson S. Fisher U.S.
           v.                  .            Courthouse
                               .          402 East State Street
      THOSE PARTIES LISTED ON .           Trenton, NJ 08608
      APPENDIX A TO COMPLAINT .
      and JOHN AND JANE DOES   .
      1 TO 1000,               .
                               .
                 Defendants.   .          Tuesday, July 26, 2022
       . . . . . . . . . . . . .          10:04 a.m.

                          TRANSCRIPT OF MOTIONS HEARING
                     BEFORE THE HONORABLE MICHAEL B. KAPLAN
                      UNITED STATES BANKRUPTCY COURT JUDGE

      APPEARANCES:

      For the Debtor:               Jones Day
                                    By: GREGORY M. GORDON, ESQ.
                                         DANIEL B. PRIETO, ESQ.
                                    2727 North Harwood Street, Suite 500
                                    Dallas, TX 75201

      For the Official              Otterbourg P.C.
      Committee of Talc             By: MELANIE CYGANOWSKI, ESQ.
      Claimants 1:                  230 Park Avenue
                                    New York, NY 10169

      Audio Operator:               Wendy Quiles

      Proceedings recorded by electronic sound recording, transcript
                     produced by transcription service.
      ______________________________________________________________

                           J&J COURT TRANSCRIBERS, INC.
                               268 Evergreen Avenue
                            Hamilton, New Jersey 08619
                           E-mail: jjCourt@jjCourt.com

                     (609) 586-2311      Fax No. (609) 587-3599
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 43 of 80

                                                                                    5
   1                MR. GORDON:    No, Your Honor.     We're fine with that.

   2                THE COURT:    Okay.

   3                MR. GORDON:    Thank you.

   4                And we do have a PowerPoint presentation.

   5                THE COURT:    Of course you do.

   6                                   (Laughter)

   7                MR. GORDON:    And hopefully, we've got someone behind

   8 the scenes here that's going to make that happen.

   9                Greg Gordon again on behalf of the debtor, Your

  10 Honor.

  11                THE COURT:    Thank you.    Good morning.

  12                MR. GORDON:    Good morning.

  13                So we in advance of the June hearing had submitted a

  14 statement indicating what we thought the appropriate next steps

  15 would be for this case.         And I think by the time we got to the

  16 June hearing, Your Honor had had an opportunity to read that

  17 and we tried to be very thoughtful about a way to move forward

  18 with an estimation process that would both be shorter than what

  19 we've seen in other cases and also be done in a way that would

  20 complement the mediation process and hopefully provide energy

  21 to the mediation process.

  22                And at the June hearing, Your Honor indicated that

  23 you were very seriously thinking about the retention of a Rule

  24 706 expert.       And I think I indicated at that hearing that we

  25 would go back and think about that.            That was something that




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55    Desc Main
                            Document    Page 44 of 80

                                                                                 17
   1 the aggregate liability here, whereas, the other side's

   2 proposal as best we can tell just disregards that.                 I mean

   3 their plan as we understand it in their proposal is just pay-

   4 as-you-go, it's irrelevant what the aggregate liability is, put

   5 us in control of the trust, and we'll just run the claims

   6 through the trust.        So to them, it's irrelevant apparently what

   7 the aggregate liability is.

   8                And then at the same time, they're apparently going

   9 to propose claim values but do it in a way that minimizes or

  10 impairs, I should say, our ability to present our case as to

  11 why their claim values are likely inflated, which is what we

  12 expect and probably materially inflated.

  13                Next slide, please.

  14                So I'll go through these quickly.        In these cases, I

  15 mean we know what the principle issue is.            We know what the

  16 central issue is.        Its been identified by many courts over the

  17 last 20 years.       And here in USG, the court said the court's

  18 aware that the tension between the positions articulated by the

  19 parties concerning the proper mode of valuing the debtor's

  20 asbestos liability reveals a fundamental, perhaps the

  21 fundamental divide between the parties.            Indeed, the issue may

  22 lie at the heart of all asbestos bankruptcies.

  23                And through the years, we know that that's true.

  24                Next slide, please.

  25                And if you think about it, this issue that we want




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 45 of 80

                                                                                 18
   1 the parties and this process to focus on, it is at the center

   2 of everything in the case.          It's the issue that basically is

   3 critical to plan negotiations.          It's central to the mediation.

   4 It's central to the formulation of a plan.             It's ultimately

   5 central to the claimants who have got to decide whether any

   6 proposed plan, whether by one side or the other, is acceptable

   7 to them.       It's information that's important to them.

   8                And it's also what allows the Court ultimately to

   9 determine whether a plan that's being proposed is in the

  10 claimant's best interest or not.           And any process, in our view,

  11 whose intent is to basically minimize the ability of the Court

  12 and the debtor to test the proposals, to shed light on the

  13 proposals, basically is -- undercuts everything in this case.

  14 It's going to put the Court in a position and the parties in a

  15 position where they really can't do their jobs the way the Code

  16 contemplates they should be done.

  17                Next slide, please.

  18                All right.   Let's go to the next slide.

  19                Next slide, please.

  20                So Section 502(c), the statute which provides the

  21 authority for the estimation of claims, is mandatory.               We've

  22 highlighted the key language that says it shall -- "There shall

  23 be estimated for purposes of allowance under this section any

  24 contingent or unliquidated claim, the fixing or liquidation of

  25 which, as the case may be, would unduly delay the




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 46 of 80

                                                                                 19
   1 administration of the case."

   2                Next slide.

   3                We have a number of -- I won't go through each of

   4 these, but there's many many cases where estimation has been

   5 authorized, and they've been authorized for exactly the reason

   6 we're asking for it here.         You know, situations where courts

   7 were faced with literally thousands of unliquidated claims and,

   8 you know, clear recognition by these courts that liquidation of

   9 those claims in the case would cause undue delay.              You see it

  10 in G-1, you see it in Federal-Mogul, and most recently, in

  11 Bestwall.

  12                Next slide, please.

  13                I mean estimation has been ordered, you know, I think

  14 basically uniformly any time it's been requested in asbestos

  15 cases.    Here's a long list on this slide.          There's many others

  16 that we could have added.         I mean years ago there was never

  17 even any opposition to this, you know, unless there was an

  18 agreement when it wasn't asked for.           Now it's become a little

  19 more common in the recent cases for the claimants to oppose

  20 estimation for basically the reasons you're hearing about it

  21 today and reasons personally I haven't fully understood.

  22                But from our perspective, we're in a court

  23 proceeding.       One of two things need to happen from our

  24 perspective.       Either we negotiate an agreement, which we've

  25 been trying very very hard to do, or there needs to be a




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 47 of 80

                                                                                20
   1 process by which the parties' due process rights are respected

   2 and they have an opportunity to have their day in court as to

   3 what the aggregate liability is that needs to be addressed in

   4 the bankruptcy case.

   5                THE COURT:    Now I'm sure you're going to address it.

   6                MR. GORDON:    Yeah.

   7                THE COURT:    Their -- TCC's contention is that if we

   8 were to even go down the path of estimation, it could be part

   9 and parcel of a confirmation hearing.

  10                MR. GORDON:    Right.

  11                THE COURT:    So that we're not ignoring that

  12 obligation, but why have two separate lengthy convoluted

  13 proceedings.

  14                MR. GORDON:    Well, I mean there's a couple of --

  15                THE COURT:    Does it work as part of confirmation?

  16                MR. GORDON:    Yeah.    I think there's a couple of

  17 answers to that.        One is unlike cases where that's been done,

  18 this is a case where we've had absolutely no discovery.

  19                There's been no proceedings at all with respect to

  20 this issue.       And now you're talking about I think under their

  21 proposal, given their timeline, compressing all that into a

  22 much shorter period of time which to me clearly says we're not

  23 going to get PIQ discovery, there won't be time, we're not

  24 going to get Trust discovery.

  25                And we know that they strongly oppose both of those




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55    Desc Main
                            Document    Page 48 of 80

                                                                                   21
   1 types of discovery in every case.           So it's a way from our

   2 perspective to avoid all of that.           And we think that's

   3 definitely a problem.

   4                The other issue is that you're putting the cart

   5 before the horse in the sense that, as Your Honor knows better

   6 than me, a confirmation process is very expensive.                 And there's

   7 lots of pieces to it.         There's disclosure statement.         There's

   8 solicitation.       The noticing anymore by itself costs millions of

   9 dollars.       It takes time.

  10                And you're basically saying we're going to go through

  11 all of that before we have any ability to assess whether or not

  12 -- whether there's competing plans or one plan, whether any of

  13 these proposals is workable or not.           And you're going to be

  14 spending a lot of time focusing on those issues as opposed to

  15 actually zeroing in on the issue that makes the difference.                 So

  16 it's really those two things.

  17                So I mean if you're talking about I guess a

  18 confirmation process that bakes into it an estimation process

  19 that gives us the rights to pursue the discovery that we think

  20 we're entitled to, discovery that goes to the merits of the

  21 claims, basic information that you would need to assess the

  22 merits of the claims, that's potentially doable.

  23                But, again, it seems wasteful to do that because you

  24 could get to the end of that and then realize we don't have

  25 anything that's going to move forward here.             Or the parties may




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 49 of 80

                                                                                22
   1 be in a position based on what happens to amend their plans,

   2 then you're going to have to re-solicit anyway and kind of

   3 start over again with disclosure statement and the process.                So

   4 --

   5                THE COURT:    But the history of discovery disputes

   6 relative to the questionnaires, the --

   7                MR. GORDON:    Yeah.

   8                THE COURT:    -- the trusts and the payments would seem

   9 to disrupt the timeline that you suggest.            It's a timeline that

  10 seems dependent upon almost all the parties working in sync.

  11 And what is there to suggest that that's going to happen given

  12 the ratholes that we've seen in other cases as far as

  13 contentious litigation over the questionnaires and the forms

  14 and the like?

  15                MR. GORDON:    That's a very good question, Your Honor.

  16                In some respects, it's a matter of if you take the

  17 parties at their word.         I mean what we hear at every single

  18 hearing is that this is an emergency, time is of the essence,

  19 we have to move, we have to move quickly.            And if that's really

  20 what the sentiment is, then we should be able to do that a lot

  21 faster.

  22                The other thing is if orders get entered, the order

  23 should be respected.         And I believe that this Court has the

  24 power and the ability to enforce those orders and make these

  25 things happen so that we're not in such an intractable delay.




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 50 of 80

                                                                                23
   1                But I mean having said all that, at the end of the

   2 day, I obviously hear you.          I think we tried to be clear that

   3 we're assuming that parties are motivated to move quickly, that

   4 they're acting in good faith, and that they'll abide by court

   5 orders.    And if we're wrong about any one of those three

   6 things, then obviously the process could be drawn out.

   7                But we do think -- I mean I can't overemphasize from

   8 our perspective, the discovery is very important.              It's the

   9 information our experts need to do the analysis necessary to

  10 present our case.

  11                And I think, you know, the question for the Court

  12 ultimately will be it's a decision between do you try to

  13 abbreviate the schedule in some way that potentially impairs

  14 the company's ability to make its case or do you do everything

  15 you can to give us the opportunity to provide us with the

  16 opportunity to obtain the information we need and then do

  17 everything in your power to ensure that the schedule is

  18 maintained as best as it can be, because, you know, at the end

  19 of the day, to us one of the benefits of estimation is that it

  20 imposes a process.

  21                I mean Your Honor would be authorizing the

  22 estimation, you'd be approving presumably a case management

  23 order that sets all the deadlines that sets the process.                And,

  24 you know, we believe that you have a significant ability to

  25 influence the course of events and hopefully to make that




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 51 of 80

                                                                                24
   1 process run on time.

   2                Did I answer your question?

   3                THE COURT:    Yes.    Thank you.

   4                MR. GORDON:    Thank you.    Next slide, please.

   5                This is kind of an obvious slide here, Your Honor.

   6 Obviously, given the number of claims we have, it would be

   7 literally impossible to have any kind of allowance process with

   8 respect to the claims.

   9                Next slide, please.

  10                All right.    Next.

  11                I mean some of this, you know, these issue have been

  12 kicking around for a long time.          I mean this comes -- slide

  13 comes out of the A.H. Robins case back in 1986.              And here where

  14 the Court said:

  15                "The interest of all the claimants and the public

  16                interest in a reasonable and fair reorganization

  17                combine in favor of an effort at an estimation of the

  18                Dalkon Shield claims as a basis for formulating a

  19                plan and as a possible step in working out a

  20                mechanism acceptable to all the claimants for a

  21                dispute resolution of their claims without burdening

  22                the estate with a tremendous expense of endless

  23                litigation."

  24                So, you know, this concept of estimation, which

  25 really until recently has been relatively routine, goes back a




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 52 of 80

                                                                                25
   1 long time in mass tort claims, and I think for good reason.

   2                Next slide, please.

   3                You know, there's been disagreement with the TCC

   4 about the impact of estimation, but we think the track record's

   5 very clear on this.        And it's just demonstrated by some of the

   6 cases that we have up on the slide here.

   7                The G-1 case, there was an agreement reached before

   8 the estimation hearing was completed.

   9                Grace, the agreement was reached shortly before the

  10 estimation hearing.

  11                USG, agreement was reached after the court-ordered

  12 estimation.

  13                Garlock, agreement reached after the court had issued

  14 an estimation decision.

  15                And then Specialty Products, the same thing.

  16                And both Garlock and Specialty Products which filed

  17 around the same time had a similar experience in the sense that

  18 the cases were making no progress or very little progress, the

  19 claimants were repeatedly telling the court they would never

  20 reach an agreement.        And ultimately, in both cases the courts

  21 approved estimation and the estimation ultimately, you know, in

  22 our view, and I think it's born out by the record, was the key

  23 factor in getting the parties to a settlement.

  24                And it's interesting to me that in Specialty

  25 Products, the court ultimately or the parties ultimately




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 53 of 80

                                                                                26
   1 settled at an amount below the estimation amount.              And in

   2 Garlock, it was the opposite, the parties ultimately settled in

   3 an amount that was above.         But if you look at the record in

   4 both cases, the estimation was key to assisting the parties in

   5 getting to an agreement.

   6                Next slide, please.

   7                Now it's interesting there are a couple of cases that

   8 we found where courts did employ an estimation in connection

   9 with mediation.       And here, you can see in this Mona Lisa case,

  10 the court said, In these adversary proceedings, mediation

  11 followed by an estimation is the most efficient and economical

  12 method to liquidate the claims and proceed toward confirmation.

  13                And next slide, please.

  14                It's a similar sentiment in the next case.          This

  15 North American Health Care case, It would take years to

  16 liquidate, if relief from stay were granted in the state and

  17 federal court actions by the tort claimants against the debtors

  18 proceeded in their ordinary course, the court agrees that

  19 estimation is not simply optional in this case, that it's

  20 required.      And there, there was a two-step mediation estimation

  21 process.

  22                Next slide, please.

  23                So we see a number of benefits in proceeding with an

  24 estimation.       It will enable the parties to gather information

  25 that they need to make their cases.           It will allow them to




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 54 of 80

                                                                                 27
   1 better understand and evaluate the strength of their own case

   2 and the cases of others.         It will require the parties, as I

   3 said before, to support their position, and they have to do so

   4 within a timeline that's been set by the Court.              It would allow

   5 the parties to understand realistic bookend, supported bookends

   6 for the liability, within which a settlement may be possible.

   7                In this case, it would also allow the parties to

   8 better assess amounts that have already been discussed in the

   9 mediation to date.        And then, with what we're proposing, it

  10 would provide the parties with the benefit of the views of

  11 independent experts and then ultimately, if we get that far,

  12 with the Court's impartial views about an estimation of the

  13 liability.

  14                And then it would also provide the claimants and the

  15 Court with information necessary to evaluate any plan.                So,

  16 again, it's important for the claimants because they ultimately

  17 are the ones that would have to vote on any plan proposal.

  18                Next slide, please.

  19                Now there's lots of things that the other side has

  20 been saying about our proposal, which frankly they just miss

  21 the mark.      We have not proposed that the estimation would set

  22 the amounts of the distributions.           I think we've been very

  23 clear about that.        We have not said that the estimation would

  24 be used to set a hard cap on the amount of trust funding.

  25                What we're proposing doesn't violate anyone's




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55    Desc Main
                            Document    Page 55 of 80

                                                                                 28
   1 constitutional rights.         It preserves all due process rights to

   2 address the issue that's key to resolving this case.                And

   3 they've also argued that our approach will cause significant

   4 delay.

   5                And, you know, obviously, what we're outlining is a

   6 process that we think will take a year and, obviously, I hear

   7 what Your Honor is saying about a concern that we may have --

   8 it may be prolonged based on discovery fights.             But I think

   9 what's important not to lose track of is we've tried to

  10 carefully design the process in a way that would facilitate

  11 settlement at virtually every step, including as early as the

  12 fall of this year.

  13                And so the real purpose of this, it's not to set hard

  14 caps, it's not to file a cramdown plan, which I guess is what's

  15 been suggested.        But instead, it's to drive a successful

  16 mediation.      It's to drive a consensual resolution.             And I think

  17 everyone in the courtroom should be able to agree that that's

  18 the result that's in the best interest of all parties and

  19 particularly the claimants.

  20                Next slide, please.

  21                Next.

  22                So here, just a few points on this slide and talking

  23 about our process.        Again, we think it's one that the way it's

  24 designed would move quickly, you know, particularly, on the

  25 medical and science side.




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 56 of 80

                                                                                29
   1                There's been arguments made that we're just trying to

   2 re-litigate Judge Wolfson's Daubert ruling.             That's not true.

   3 And one of the things that's important to recognize, and I

   4 think the other side acknowledged it in their reply brief, is

   5 there's been significant developments we believe in the

   6 scientific world since the evidence that was presented to Judge

   7 Wolfson.       And I think that evidence -- I won't get the date

   8 right, it either dates back to 2020 or 2019.             Obviously, the

   9 ruling was later than that, but the evidence, we're talking

  10 about at least a couple of years or longer of developments.

  11                But the other point is, and you'll see this in

  12 upcoming slides, we're not asking for like -- this wouldn't be

  13 asking for an up or down ruling on whether, you know, the

  14 science shows this or science shows that.

  15                But what it will do is it will put the Court in a

  16 position and the independent experts in a position to determine

  17 whether these claims are strong or weak or somewhere in

  18 between, which is, you know, very important information that

  19 Your Honor would need, the experts would need to evaluate

  20 ultimately what the estimation should look like because if the

  21 view based on the medical science -- and that's what informs

  22 these claims -- is that the claims are weak, then you would

  23 expect the quantification would be on the low side.

  24                On the other hand, if you think there's a strong

  25 relationship between the use of these products and causation of




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 57 of 80

                                                                                30
   1 this disease, which we don't think the evidence will show, then

   2 you would come up with a higher estimation.             But in any event,

   3 the issue to us is very different than what Judge Wolfson was

   4 dealing with in the Daubert -- in her Daubert ruling.               And,

   5 again, lots of developments have occurred since the evidence

   6 was presented in connection with that.

   7                And, again, I think phase two, I've covered all of

   8 this.    In both cases, subject matter expert assistance to help

   9 out with the process and to also help the parties settle.

  10                Next slide, please.

  11                And, again, I think I've largely covered this on the

  12 overview of the expert process.          We did plug in some dates here

  13 just to give you a sense for how this works.             So in that first

  14 stage, that preliminary positions on both medical science and

  15 quantification, that does happen so that that occurs in the

  16 fall, there would be actually feedback provided in the fourth

  17 quarter of this year, which is not that far away.

  18                And then you can see phases two and three, we're

  19 moving then into the second quarter of 2023.             So, you know,

  20 this is something on the phasing process with the experts,

  21 their actual assistance in trying to help the parties get to a

  22 deal.    This would occur very very quickly.           All three stages,

  23 frankly, would move pretty rapidly.

  24                Next slide, please.

  25                This slide is intended, Your Honor, just to reinforce




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 58 of 80

                                                                                   31
   1 the point the discovery we're seeking really is critical.                And,

   2 again, I understand Your Honor's concern about the discovery,

   3 but the question ultimately of estimating this liability goes

   4 to the merits.

   5                And the other side in these cases takes the position

   6 essentially that the merits are irrelevant.             I don't know what

   7 their approach will be exactly in this case, but in other

   8 cases, their position has been merits are irrelevant, all you

   9 need to do is take a look at what settlements have been paid

  10 and extrapolate from those.

  11                And the problem with that, of course, is that because

  12 there's so many of these cases, most companies don't have the

  13 ability to litigate each and everyone one and so they settle

  14 many many cases just to avoid or reduce defense costs.                Well,

  15 that doesn't have anything to do with liability.              And then, you

  16 know, we've learned from other cases that settlement were

  17 reached based on an absence of key evidence, evidence that was

  18 withheld by the plaintiffs in many cases.            And we've seen this

  19 in the asbestos side and the mesothelioma cases.

  20                And one of the primary reasons to get the Trust

  21 discovery, particularly with respect to the meso claims is to

  22 determine whether that happened here.            And that to us is

  23 extremely important evidence in the event that the other side

  24 would come in here and say all you need to do is use the

  25 company's settlement history and extrapolate, and that's how




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 59 of 80

                                                                                32
   1 you determine the liability.

   2                To us, that's problematic for a lot of reasons, but

   3 it's particularly problematic if in fact there is evidence

   4 which has been shown in other cases that those settlement were

   5 made within complete information because evidence was withheld.

   6                THE COURT:    Just a question.

   7                MR. GORDON:    Yeah.

   8                THE COURT:    It actually goes to the other issues, the

   9 extension of the preliminary injunction, the stay relief.                But

  10 the new data available according to Johnson & Johnson and the

  11 debtor --

  12 (Phone ringing)

  13                THE COURT:    All right, we've had -- my phone's gone

  14 off.    We've had a few phones.        By now, everybody should know to

  15 take their phones off.         All right.

  16                But if we were -- if I were to release some or all of

  17 the dozen identified cases, does that new science come into

  18 play or is that -- given that discovery's already been fixed,

  19 they were trial ready.         Do those reflect any of the new science

  20 as proffered by the debtor?

  21                MR. GORDON:    You know, that's a specific question.

  22                THE COURT:    And maybe you need to --

  23                MR. GORDON:    Yeah, I might need to consult on that.

  24                THE COURT:    But when we get to the other issues --

  25                MR. GORDON:    Okay.




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 60 of 80

                                                                                96
   1 anything above zero is overpaying.

   2                I think if you peel it back, what the debtor is

   3 really saying is, is we want you, Judge, to agree that we owe

   4 nothing and so we would like to do a year-long estimation

   5 process so we can convince you of the science and get you to

   6 say we owe nothing.         And they're viewing it as really as a

   7 mediation tool.       And, you know, echoing Mr. Molton's comments,

   8 I don't think that's an appropriate use of estimation and I

   9 don't think it's a path to anywhere in this case.

  10                Anyway, thank you, Your Honor.       I appreciate the

  11 opportunity to participate by Zoom.

  12                THE COURT:    Thank you, Mr. Pfister.      And I hope you

  13 get better --

  14                MR. PFISTER:    Thank you.

  15                THE COURT:    -- and look forward to seeing you on this

  16 coast.

  17                Anyone else wish to be heard?       Don't feel compelled.

  18                                   (Laughter)

  19                THE COURT:    All right.    Mr. Gordon, did you want to

  20 respond?

  21                MR. GORDON:    I do, Your Honor.     I can be relatively

  22 brief I think.

  23                Just starting with a point that Mr. Pfister made and

  24 others, there seems to be a number of efforts to try to paint

  25 us as changing positions.         And I don't think, Your Honor, that




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 61 of 80

                                                                                97
   1 we've changed positions on anything.           Mr. Pfister suggests that

   2 today, we're now arguing that J&J's consent is required for

   3 plan confirmation.        I did not make that argument.

   4                The point I was making is that we're in a judicial

   5 proceeding.       We believe, like the claimants, that we have

   6 rights to be heard, that we have due process rights to make our

   7 case and it was unimaginable to me that we could have a

   8 situation where a plan gets approved based on the claimants

   9 agreeing to their own demands or we don't have a full right to

  10 be heard in terms of what the results of that settlement with

  11 themselves are and without a right to fully defend ourselves.

  12 So there's no change in position.

  13                Also Mr. Pfister said that in his view, this case is

  14 unique because this company has been telling this Court from

  15 the beginning that it owes nothing.           And we do believe we owe

  16 nothing.       If the merits are properly examined with all the

  17 facts, we do believe that's the case.            I can tell Your Honor

  18 that many companies have gone into asbestos cases making the

  19 exact same argument.        It was made in Garlock.       It was made in

  20 Bondex.    That was the view in Kaiser Gypsum.           There, the

  21 arguments were different.         It was based on the fact that the

  22 products at issue had chrysotile asbestos not anthophyl, that

  23 the exposures would not -- that that's a less toxic asbestos,

  24 that the exposures were not sufficient to cause disease and no

  25 liability.      So I just want to say there's nothing unique.




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 62 of 80

                                                                                98
   1                But there's a suggestion embedded in what he said

   2 which is a suggestion that we're not even proceeding in good

   3 faith in this case, that we're not negotiating in good faith,

   4 and I assure Your Honor that the debtor and J&J have taken the

   5 mediation very seriously.         Significant offers have been made

   6 and to imply that maybe there's an unwillingness to make any

   7 kind of material offer to resolve this case and move on and be

   8 done with it, that's completely incorrect.

   9                As to the U.S. Trustee's comments about the Rule 706

  10 expert, all I would say there is we gave a lot of thought to

  11 those issues as well, did research.           Knowing Your Honor, I know

  12 you did too.       And I would say a couple things, and I was remiss

  13 probably in not saying something before.            The reason we propose

  14 two experts is because we can't envision anyone, any single

  15 person, who would have the requisite expertise to address both

  16 science issues, medical science issues, and economic issues.

  17                We can envision that there are people who have the

  18 expertise to advise on all the medical science issues and then

  19 on all the economic issues.          So I did want to be clear.        I

  20 don't think I said it before.          That's the reason we thought

  21 that two were necessary.         We just racked our brains and we just

  22 couldn't think of a single individual or type of individual who

  23 would provide the expertise across the spectrum of issues who

  24 would have to be considered.

  25                But with respect to the U.S. Trustee's point




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 63 of 80

                                                                                   99
   1 specifically, she's right that we found as well there's sort of

   2 a pure 706 expert, which is more like an expert witness who

   3 writes reports can be cross-examined.            And then the other

   4 concept we found was a technical advisor serving more in the

   5 role of a technical advisor.          And that seemed to us what Your

   6 Honor was thinking about here.          We don't know exactly what Your

   7 Honor was thinking about, but at least I think when we were

   8 laying out our proposal, that's the way we were thinking about,

   9 somebody who could provide technical, scientific, or economic

  10 advice to the Court on issues that, you know, are pretty, you

  11 know, are pretty complex and not easy to understand for, you

  12 know, someone who's not immersed in those issues day-to-day.

  13                So we think there is plenty of authority for that.

  14 And that would be someone that wouldn't be an expert report,

  15 per se, or there wouldn't be cross-examination, per se.                But

  16 admittedly, we've seen two different approaches adopted by

  17 courts and we don't see either of them falling in the category

  18 of a special master.        That's not what we were seeing here.          A

  19 special master to us is where the court's basically delegating

  20 responsibility to make a decision or recommend a decision.                We

  21 didn't see it that way.         We saw it more in terms of providing

  22 needed advice to the Court and assessing the issues that would

  23 be presented by the experts in the case.

  24                Mr. Thompson, the one thing -- I mean, obviously,

  25 he's made very clear and his firm has made very clear, they are




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55    Desc Main
                            Document    Page 64 of 80

                                                                                100
   1 opposed to the bankruptcy period.           They're opposed to every

   2 bankruptcy.       They want to litigate every one of their cases and

   3 they argue that every single one of their claimants would

   4 rather proceed in court than accept a fixed payout under a

   5 plan.    But at the same time, he has to concede he hasn't seen

   6 any plan.      He doesn't know what values might be offered.             So to

   7 me, I don't think we can put much stock in a position like that

   8 where a party's telling you that no agreement would be

   9 acceptable.       We don't care about the aggregate value.           Well, of

  10 course, they don't care about the aggregate value.                 They want

  11 to know what the claim values are.

  12                But he did attempt, and we've seen this multiple

  13 times, to distinguish the Paddock case.            And he said that

  14 company was in distress.         That's different.      Well, that

  15 company's equity was preserved.          He also said that there was no

  16 PI in that case.        That's a totally different case.           Well, there

  17 was no PI in that case because there was no litigation in that

  18 case.    All their claims were handled under administrative

  19 settlement.       So that's just not a fair way to distinguish

  20 Paddock.       And of course Paddock, although a Texas divisional

  21 merger wasn't utilized, the equivalent type transaction was

  22 done in that case and there was a funding agreement and that

  23 sort of thing.

  24                Ms. Jones, again, in another effort to paint us as

  25 changing our position, said that what she heard today was very




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55    Desc Main
                            Document    Page 65 of 80

                                                                                101
   1 troubling because that was contrary to our assertion that we

   2 were intending to fund claims in full.            And she was basically

   3 suggesting that because we're not, at this point, supportive of

   4 a pay-as-you-go plan that that's a change in position.                 That's

   5 no change in position.         All the parties know that.          We've been

   6 very clear from day one in this case that we want a global

   7 permanent resolution of this liability.            We want to fund the

   8 liability and we want to be done with the liability.

   9                And, obviously, what's being proposed by way of cram

  10 down is a plan that wouldn't do that.            It basically takes off

  11 the table immediately what our objective is in this case.                 So

  12 that is not a change in position.           The reason we want to focus

  13 on the aggregate liability is we want to pay a funding amount

  14 that's acceptable to the parties and we want to be done.

  15 There's no surprise in that.          There's no change in position.

  16                There's also been a lot said by, I think

  17 Mr. Satterley made a comment, Mr. Molton made a comment, about

  18 the PIQ discovery and the trust discovery.             And, again, we hear

  19 this in every case.        I think Mr. Satterley said we don't need

  20 the information.        We already have the information.

  21                Well, we don't have the information.        I put up the

  22 statistics from the other cases to show you that those

  23 companies didn't have the information either.             And it's always

  24 been beyond me why there's so much opposition to discovery

  25 that's intended just to seek the basic information that any




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 66 of 80

                                                                               102
   1 court would want to assess the validity of these claims.                Why

   2 is there such opposition to that?           Why don't they want to tell

   3 us from whom else they're seeking recoveries?             Why don't they

   4 want to tell us what other recoveries they've gotten in the

   5 same claims?

   6                On the trust discovery, why don't they want us to

   7 know that they're seeking recoveries from other trusts with

   8 respect to the same claims?          That's all we're asking.       We want

   9 to know.       These are claims that there's either several

  10 liability or joint and several liability.            Aren't we entitled

  11 to know whether or not they've actually recovered on those

  12 claims already or they're asserting somewhere else that they've

  13 been exposed to other companies' products.

  14                This was a gigantic battle in the Garlock case and

  15 Judge Hodges ultimately said, I think some discovery is

  16 permitted.       And I know you've read his opinion.         At the end of

  17 the day, he said, look, I limited your discovery, but I looked

  18 at 15 cases and in every single one of the case, it was clearly

  19 established that the plaintiffs suppressed evidence of having

  20 submitted trust claims, that they told the company one thing,

  21 I've only been exposed to your product or maybe a couple, but

  22 at the same time, they were going to other courts going to

  23 trust and saying, I've been exposed to 15 other products or 20.

  24 And that was enough for him to say, I don't accept any

  25 estimation based on settlements because I don't need to see any




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 67 of 80

                                                                               103
   1 more.    If it happened in 15 out of 15, that's enough for me.

   2                So that's a long way of saying, Your Honor, that,

   3 again, the opposition, I guess, is not surprising based on what

   4 we've seen in other cases, but the PIQ, that's very basic

   5 discovery about the merits of the claims and trust discovery is

   6 very key with respect to alternative exposures.              And remember

   7 that the trust discovery is pursued against trusts who all have

   8 electronic databases.         It takes them a push of the button to

   9 spit that data out to provide it.           There's no burden.      The

  10 companies typically offer to pay the costs.             That should not be

  11 a problem.

  12                Mr. Satterley just misspoke on one point I'll comment

  13 on.    He criticized us for proposing that the medical science

  14 hearings would be one day.          I mean, our proposal was actually

  15 four days for ovarian, three days from mesothelioma, and

  16 obviously, that's a proposal we're making.             We think, based on

  17 what we know and our experience in the tort system, that would

  18 be sufficient.       But we're not saying that it's four and three

  19 and that's it, we're not willing to talk about that.

  20                I thought you asked an interesting question of

  21 Mr. Molton about the value of the insurance and what you would

  22 do with that at confirmation.          And his answer, I thought, which

  23 I think was the right answer was, well, you're going to have to

  24 do an aggregate liability determination at least to show that

  25 the liability exceeds one to two billion or three billion.                I




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 68 of 80

                                                                               105
   1 wish it had succeeded by now.          It hasn't happened for reasons

   2 that are bothersome to us, but it is what it is.              But we're

   3 trying to come up with other ways to focus the parties in the

   4 right way and to put them in a position to settle this sooner

   5 rather than later.

   6                So I guess in the end, Your Honor, I would just say

   7 this.    All I hear and all I've heard from these counsel, one by

   8 one, is that we have a veto right, we can do what we want.                We

   9 make the demand.        We decide.    It's irrelevant what the debtor

  10 thinks.    It's irrelevant what J&J thinks.          And, frankly,

  11 they're trying to put you, I believe, in a position where it's

  12 very difficult for you to determine whether what they decide

  13 for themselves works for them is actually fair and appropriate.

  14                We're in a court process to try to fairly resolve

  15 this liability.       And, you know, we believe that we have rights

  16 that we're entitled to to protect our interests in that

  17 respect.       And I would just ask Your Honor to take those

  18 comments for what they are.          I've heard them in every single

  19 case.    We will never agree.        We will never accept anything less

  20 than what we demand.        Anything we say goes.       Anything we say

  21 will be accepted by the claimants.

  22                Well, my answer to that is we have a court process.

  23 This Court is here to find the truth and to do justice and

  24 that's what we're asking this Court to do.

  25                THE COURT:   Thank you, Mr. Gordon.




                                     WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 69 of 80

                                                                                 106
   1                MR. GORDON:    Thank you.

   2                MR. MOLTON:    Judge, just one point and I'm not

   3 going --

   4                THE COURT:    Sure.

   5                MR. MOLTON:    -- to reply to anything.       You know, we

   6 are also cognizant we're here in a court process and we're

   7 looking for justice too.         I just need to say something because

   8 this isn't the first time it's happened.

   9                We heard Mr. Gordon lecture the plaintiff lawyers

  10 hear about adherence to Court orders.            We have a mediation

  11 order that talks about confidentiality and I've heard just now

  12 from Mr. Gordon what I consider to be a breach of that order in

  13 terms of talking about whatever offers have been made there and

  14 characterizing them.

  15                Put it this way, I'm not going to respond to it.             I'm

  16 going to adhere to the mediation order which I think we all

  17 need to do.       And, again, this isn't the first time.           But be

  18 advised, Your Honor, we dispute every, every characterization

  19 that was made in front of Your Honor right now on that issue.

  20                THE COURT:    All right.    Thank you, Mr. Molton.

  21                To quote my favorite auctioneer, are we done?

  22                I think we are for now.      Let's try to return about by

  23 1:30 and we'll get started again.

  24                Thank you.

  25            (Recess at 12:46 p.m./Reconvened at 1:40 p.m.)




                                     WWW.JJCOURT.COM
Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                           Document    Page 70 of 80




                    EXHIBIT 4
Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                           Document    Page 71 of 80



                      IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEW JERSEY

      IN RE:                        .           Case No. 23-12825(MBK)
                                    .
                                    .           Clarkson S. Fisher U.S.
      LTL MANAGEMENT LLC,           .             Courthouse
                                    .           402 East State Street
                                    .           Trenton, NJ 08608
                Debtor.             .
      . . . . . . . . . . . . . . . .
      LTL MANAGEMENT LLC,           .           Adv. No. 23-01092 (MBK)
                                    .
                Plaintiff,          .
                                    .
           v.                       .
                                    .
      THOSE PARTIES LISTED ON       .
      APPENDIX A TO COMPLAINT and   .
      JOHN AND JANE DOES 1-1000,    .
                                    .           Tuesday, May 9, 2023
                Defendants.         .           1:00 p.m.
      . . . . . . . . . . . . . . . .

             TRANSCRIPT OF HEARING ON STATUS CONFERENCE REGARDING
         MOTIONS TO DISMISS THE CHAPTER 11 CASE [DKTS. 286, 335, 346,
              350, 352, 358, 379, 384] AND OBJECTIONS THERETO; AND
        REQUEST OF THE OFFICIAL COMMITTEE OF TALC CLAIMANTS FOR ORDER
         CERTIFYING DIRECT APPEAL OF PRELIMINARY INJUNCTION ORDER OF
         APRIL 20, 2023 TO THE UNITED STATES COURT OF APPEALS FOR THE
           THIRD CIRCUIT [ADV. DKT. 84] AND OBJECTIONS THERETO; AND
        PAUL CROUCH MOTION AND JOINDER FOR AN ORDER CERTIFYING DIRECT
       APPEAL OF PRELIMINARY INJUNCTION ORDER OF APRIL 20, 2023 TO THE
         UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT [ADV.
                      DKT. 89] AND OBJECTIONS THERETO; AND
        MOTION OF AD HOC COMMITTEE OF SUPPORTING COUNSEL TO INTERVENE
                     [ADV. DKT. 104] AND OBJECTIONS THERETO

                     BEFORE THE HONORABLE MICHAEL B. KAPLAN
                      UNITED STATES BANKRUPTCY COURT JUDGE

      Audio Operator:                           Kiya Martin

      Proceedings recorded by electronic sound recording, transcript
                     produced by transcription service.
      ______________________________________________________________

                           J&J COURT TRANSCRIBERS, INC.
                               268 Evergreen Avenue
                            Hamilton, New Jersey 08619
                           E-mail: jjcourt@jjcourt.com

                     (609) 586-2311      Fax No. (609) 587-3599
Case 23-12825-MBK   Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                           Document    Page 72 of 80

                                                                                   2
      APPEARANCES:

      For the Debtor:               Jones Day
                                    By: GREGORY M. GORDON, ESQ.
                                         DAN B. PRIETO, ESQ.
                                         AMANDA S. RUSH, ESQ.
                                    2727 North Harwood Street, Suite 500
                                    Dallas, TX 75201

                                    Skadden Arps Slate Meagher &
                                      Flom, LLP
                                    By: ALLISON M. BROWN, ESQ.
                                    One Manhattan West
                                    New York, NY 10001


      For Ad Hoc Committee          Genova Burns LLC
      of Certain Talc               By: DANIEL M. STOLZ, ESQ.
      Claimants and Ad Hoc          494 Broad Street
      Committee of Creditors:       Newark, NJ 07102

                                    Brown Rudnick LLP
                                    By: JEFFREY L. JONAS, ESQ.
                                         DAVID J. MOLTON, ESQ.
                                         MICHAEL WINOGRAD, ESQ.
                                    7 Times Square
                                    New York, NY 10036

                                    Brown Rudnick LLP
                                    By: SUNNI BEVILLE, ESQ.
                                    One Financial Center
                                    Boston, MA 02111

                                    Otterbourg PC
                                    By: MELANIE CYGANOWSKI, ESQ.
                                    230 Park Avenue
                                    New York, NY 10169


      For the Office of the         Office of the United States Trustee
      United States Trustee:        By: LINDA RICHENDERFER, ESQ.
                                         JEFF SPONDER, ESQ.
                                         LAURA DAVIS JONES, ESQ.
                                    J. Caleb Boggs Federal Building
                                    844 King Street, Suite 2207
                                    Lockbox 35
                                    Wilmington, DE 19801




                                    WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 73 of 80

                                                                                 31
   1 claimants, then before they are permitted to intervene, they

   2 have to get consent of their claimants to take the positions

   3 that they're taking and have the claimants be a part of the

   4 process, be part of the decision making, and sign on to the

   5 positions that are being taken.

   6                Ms. Cyganowski was absolutely correct.         The TCC is

   7 often used as an example of a minority of claimants.               We are a

   8 fiduciary, Your Honor, for all talc claimants.             We are a

   9 committee comprised of members that participate and input all

  10 of the decision-making of the Committee.            And the point, Your

  11 Honor, here is the other claimants should be afforded the same

  12 opportunity.       Thank you.

  13                THE COURT:   Thank you, Counsel.

  14                MS. BEVILLE:     One other note, Your Honor, just on the

  15 Rule 2019, it has been filed but it was filed in redacted

  16 process.       I know counsel indicated he would work with the

  17 parties, but the TCC does request an unredacted copy.               Thank

  18 you.

  19                THE COURT:   That's fine.     Thank you.

  20                Mr. Birchfield, you've been trying.        Come on up.

  21                MR. BIRCHFIELD:    Good afternoon, Your Honor.

  22                THE COURT:   Good afternoon.

  23                Andy Birchfield, Beasley Allen, on behalf of Alishia

  24 Landrum.       And my purpose is to address the narrative of the Ad

  25 Hoc Committee of Counsel, the narrative that is the foundation




                                      WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 74 of 80

                                                                                32
   1 of its motion to intervene.          That narrative is that the Ad Hoc

   2 Committee of Law Firms represent a vast majority of talc

   3 claimants, and it seeks to intervene in order to serve as a

   4 counterweight to the loud minority of the TCC and to maximize

   5 the Ad Hoc Committee's constituents' recovery by supporting the

   6 debtor's plan of reorganization.

   7                This narrative raises two important and troubling

   8 questions.      The first question is if this group represents the

   9 majority of talc claimants, what is the definition of talc

  10 claimants that's being used.          And the second question is

  11 according to the terms of the agreement that this group

  12 contends maximizes recovery, what would the talc claimants

  13 receive.

  14                So for the first question, what is the definition of

  15 talc claimants, one definition, the definition that is used and

  16 has been used by the TCC and its members is based on the

  17 evidence and the science that has been guided by years of

  18 litigation; years of litigation in state courts, litigation in

  19 federal court here, the MDL court, that has been guided through

  20 an extensive Daubert process hearings, experts, and a Daubert

  21 decision by Judge Wolfson.

  22                That is the basis of the definition of talc claims

  23 that focuses on the types of injuries that are supported both

  24 by the evidence and the science.           Those injuries are epithelial

  25 ovarian cancer with specific subtypes and mesothelioma.




                                      WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 75 of 80

                                                                                33
   1                This Court in appointing in its order appointing Mr.

   2 Ken Feinberg as a Rule 706 expert followed this definition

   3 without objection from LTL.          The Court ordered Mr. Feinberg to

   4 estimate the value and the volume of ovarian cancer claims and

   5 mesothelioma claims, not uterine cancer claims or vaginal

   6 cancer claims or cervical cancer claims.            Not the whole host of

   7 additional claims that would be covered under this new

   8 definition of gynecological cancers.

   9                This new and expensive definition that is outlined in

  10 the debtor's plan, the plan support agreement, and that the

  11 members of the Ad Hoc Committee are -- they're contractually

  12 bound to accept this definition.           This would be counter to the

  13 definition that was employed in LTL1.            It would be counter to

  14 what the Court ordered Mr. Feinberg to investigate and to

  15 estimate.

  16                Your Honor, for years, leadership law firms, law

  17 firms that have been litigating in state courts, the MDL

  18 leadership that has operated here in this courthouse, they have

  19 been guided by what the evidence and the science supports and

  20 they have been advising, they have been counseling law firms

  21 across the country about what types of claims are supported.

  22 And law firms have -- many law firms have followed that

  23 guidance.

  24                If the debtor and the Ad Hoc Committee of Supporting

  25 Counsel, if their agreement were implemented, if their




                                      WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 76 of 80

                                                                                34
   1 agreement were implemented and this new definition were

   2 applied, a definition that is untethered, untethered to support

   3 from the evidence and the science, the floodgates would be

   4 flung open wide.

   5                If the floodgates are opened, then who could say what

   6 the denominator would be, who could say what it would require

   7 to have a majority, much less a super majority?              The overly

   8 broad definition is an effort to distort the voting power, the

   9 voting power of the real victims here.            So the first question,

  10 what is the definition that's being used, that's a troubling

  11 question.

  12                The second question is what has the Ad Hoc Committee

  13 law firms agreed to?        What are the terms that they have agreed

  14 to that purportedly maximizes value for its constituents?                Your

  15 Honor, if we could take -- I want to take just a quick look for

  16 just a moment --

  17                THE COURT:   Sure.

  18                MR. BIRCHFIELD:    -- at the plan support agreement.

  19                THE COURT:   But I have a question for you --

  20                MR. BIRCHFIELD:    Yes, sir.

  21                THE COURT:   -- while you pull it up.       So what do you

  22 -- what role do you see for claimants who are victims of --

  23 alleged victims of other types of cancer that they ascribe to

  24 talc in this case?        Are they claimants?

  25                MR. BIRCHFIELD:    Your Honor, I would say that they




                                      WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 77 of 80

                                                                                35
   1 would not be claimants.         The tort system, the civil justice

   2 system has mechanisms for addressing that.             I mean if we --

   3                THE COURT:    But under the very broadest definition

   4 under the Bankruptcy Code, it would be a claim, so -- and I'm

   5 asking this because we haven't discussed this --

   6                MR. BIRCHFIELD:    Right.

   7                THE COURT:    -- in detail.

   8                MR. BIRCHFIELD:    And it would be a very difficult

   9 question to grapple with if we were dealing with a debtor in

  10 financial distress.         Here we have a debtor that could choose,

  11 and I would urge they do pay.          If they want to pay all of the

  12 claims that the Ad Hoc Committee represents, J&J can do that.

  13 J&J is not a debtor.        J&J can agree to enter into settlement

  14 agreements with the Ad Hoc Committees on the terms that they

  15 have here.

  16                But if you were dealing with -- to address your

  17 question, if you were dealing with a debtor that was in

  18 financial distress, then you would have to weigh, I believe the

  19 Court would have to weigh what are the claims that are

  20 supported by the evidence and the science and the ones that are

  21 not.    You would have to vet those.

  22                THE COURT:    I guess --

  23                MR. BIRCHFIELD:    And the tort system has done that.

  24                THE COURT:    One would think that the plan could

  25 address that just by ascribing a different value or potential




                                      WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 78 of 80

                                                                                36
   1 compensation scheme for -- depending upon the injury and the

   2 nature of the cancer.

   3                MR. BIRCHFIELD:    Your Honor, not with what's been

   4 proposed here.       Not what's been put forward by the Ad Hoc

   5 Committee.      Then it would come -- it comes back to the

   6 foundational question of whether there is jurisdiction here,

   7 whether there's financial distress or not.

   8                Theoretically, Your Honor, if you were dealing with a

   9 company in financial distress, I'm not trying to avoid the

  10 issue.

  11                THE COURT:    No, I understand.

  12                MR. BIRCHFIELD:    There would be ways that that could

  13 be addressed.       It would be addressed by following what has been

  14 -- what has played out in the tort system over the following

  15 years.

  16                THE COURT:    Just one second.     Mr. Gordon?

  17                MR. GORDON:    I'm sorry to interrupt.      I need to

  18 interpose an objection.         He's about to put up on the screen

  19 because we just saw it the exhibit to the term sheet that we

  20 maintain is confidential.         It's subject to confidentiality.

  21 The issue of its confidentiality is set for hearing on May

  22 16th, and we object to this being shown publicly.

  23                MR. BIRCHFIELD:    Your Honor, I did not intend.         I did

  24 not intend.       I had two slides in here.       The only slides that I

  25 have are from the plan support agreement that are not




                                      WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 79 of 80

                                                                                   41
   1 allowing them to be a party in these proceedings just gives LTL

   2 a second seat at the table, and that's inappropriate and we

   3 urge you to deny the motion, Your Honor.

   4                THE COURT:   Thank you.

   5                MR. BIRCHFIELD:    Thank you.

   6                THE COURT:   Ms. Beville?

   7                MS. BEVILLE:    Your Honor, if I may, I just want to

   8 address the question that you asked about whether claimants

   9 with different types of cancer that have been litigated

  10 already, would they have a claim in the bankruptcy.                I think,

  11 Your Honor, you're right they would have a right to file a

  12 claim.    Claims are broadly defined and can include any

  13 potential right to payment.

  14                But you put your finger on the very issue, Your

  15 Honor, is those claims may not be compensable either under the

  16 plan or under trust distribution procedures.             If we got to a

  17 point where we were actually voting on a plan, they may be

  18 either separately classified or allowed for zero dollars for

  19 voting purposes.        There's a lot of ways that those claims could

  20 be treated.

  21                One of the concerns we have is this conflation of all

  22 claims being put in one pot and potentially sharing a pot of

  23 money pro rata not depending on the legitimacy of the claims

  24 that are being reported.         So you may have a claim, but it may

  25 not be a compensable claim.




                                      WWW.JJCOURT.COM
Case 23-12825-MBK    Doc 503 Filed 05/13/23 Entered 05/13/23 00:00:55   Desc Main
                            Document    Page 80 of 80

                                                                                42
   1                THE COURT:   All right.     Thank you.

   2                Mr. Thompson?

   3                MR. THOMPSON:    Thank you.     Your Honor, I'll be

   4 brief.    I've tried to limit what I was going to say based on

   5 what's already been said.

   6                In response to your question, who decides what a

   7 valid claim is, that's a great question and it's one that

   8 respectfully you don't have subject matter jurisdiction to

   9 decide because this is a bad-faith bankruptcy.             And so what we

  10 see here are claims, what LTL has done is they've broadened the

  11 creditor class beyond what was being litigated in the tort

  12 system.    They've broadened it to include claims that are not

  13 supported, that did not clear the Daubert challenges just to

  14 get the votes.

  15                They're doing all this just to get the votes.

  16 They're creating creditors that they don't have to pay anything

  17 to out of bankruptcy.         Tens of thousands of these gynecological

  18 cancers that don't have a scientific connection to talc, they

  19 are willing to pay those people who are owed -- if they exist,

  20 that are owed nothing in the tort system.            The gate is the --

  21 the challenge is to enter -- who decides what is a good case,

  22 well, the tort system does and that limits the types of claims

  23 that are filed.

  24                I have a large firm.     We are retained by about 350

  25 mesothelioma victims a year.          We only sued J&J probably 35 to




                                      WWW.JJCOURT.COM
